                           Exhibit C

       Liliana Camara Deposition Transcript




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 1 of 110
                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                         Civil Action No.: 1:18-cv-1046




       HUI MINN LEE,                             )
                                                 )
                                 Plaintiff,      )   D E P O S I T I O N
                                                 )
             vs.                                 )
                                                 )      * C O P Y *
       MARKET AMERICA, INC.,                     )
                                                 )
                                 Defendant.,     )
                                                 )
       -----------------------------------




                        _______________________________

                                 LILIANA CAMARA
                        _______________________________




                              101 South Elm Street
                           Greensboro, North Carolina



                             Tuesday, April 27, 2021
                               10:03 o'clock a.m.

                           __________________________

                           Cassandra J. Stiles, CVR-M
                            Certified Court Reporter


                      Atlantic Professional Reporters, Ltd.
                                P. O. Box 11672
                          Winston-Salem, NC 27116-1672
                                (336) 945-9047
                                (800) 717-0001



Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 2 of 110
         Liliana Camara                     1:18-cv-1046                                Page 2

                                                NOTES

       PAGE LINE         SUBJECT MATTER                           RELATES TO            ACTION

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________

       __________        _____________________________________________



             *Copy*             Lee v. Market America                                    04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 3 of 110
         Liliana Camara                     1:18-cv-1046                                Page 3

                             APPEARANCES OF COUNSEL



       Angela Gray, Esq.
       GRAY NEWELL THOMAS, LLP
       7 Corporate Center Court, Suite B
       Greensboro, North Carolina 27408


       Camilla F. Deboard, Esq.
       TEAGUE ROTENSTREICH STANALAND FOX & HOLT, LLP
       101 South Elm Street, Suite 350
       Greensboro, North Carolina 27401




       OTHER APPEARANCES

       Hui Minn Lee




             *Copy*             Lee v. Market America                                   04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 4 of 110
         Liliana Camara                     1:18-cv-1046                                Page 4

                                           I N D E X

       STIPULATIONS                                                                              5
       EXAMINATION

              Ms. Gray                                                                           6


                            _________________________


       CONFIDENTIAL PORTION                                                                  88-94
       ADJOURNMENT                                                                             107
       CERTIFICATE OF TRANSCRIPT                                                               108
       CERTIFICATE OF OATH                                                                     109




                                   E X H I B I T S


       Name                              Offered By                                     Identified


       None offered




              *Copy*            Lee v. Market America                                    04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 5 of 110
         Liliana Camara                     1:18-cv-1046                                Page 5

                                       STIPULATIONS

             Pursuant to Notice and/or consent of the parties, the

       deposition hereon captioned was conducted at the time and

       location indicated before Cassandra J. Stiles, Notary Public

       in and for the County of Forsyth, State of North Carolina at

       Large.

             The deposition was conducted for use in accordance with

       and pursuant to the applicable rules or by order of any

       court of competent jurisdiction.

                   Reading and signing of the testimony was not

       requested prior to the filing of same for use as permitted

       by applicable rule(s).




             *Copy*             Lee v. Market America                                   04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 6 of 110
          Liliana Camara                     1:18-cv-1046                                Page 6

      1                  The witness, LILIANA CAMARA, being first

      2      duly sworn to state the truth, the whole truth and

      3      nothing but the truth, testified as follows:

      4            (10:03 o'clock a.m.)

      5                                     EXAMINATION

      6      BY MS. GRAY:

      7            Q.    Good morning, Ms. Camara.

      8            A.    Good morning.

      9            Q.    How are you?

     10            A.    Doing fine.

     11                  How are you.

     12            Q.    Good.

     13                  So my name is Angela Gray, and I am

     14      representing Nadine Lee in a lawsuit that she's

     15      filed against Market America regarding her

     16      termination of employment.

     17                  Are you aware that you are here today to

     18      give deposition testimony with regard to that case?

     19            A.    Yes, I am.

     20            Q.    Okay.     Great.

     21                  And we'll just let you state your full

     22      name on the record.

     23            A.    Liliana Camara.

     24            Q.    Okay.     Now, are you currently employed at

     25      Market America?

             *Copy*              Lee v. Market America                                   04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 7 of 110
          Liliana Camara                      1:18-cv-1046                                Page 7

      1              A.   No.

      2              Q.   Okay.     How long have you been separated

      3      from employment at Market America?

      4              A.   Over three years now.                             March 2018, I

      5      believe it was.

      6              Q.   2018?

      7              A.   Yes.

      8              Q.   Okay, and where are you currently

      9      employed?

     10              A.   I am self-employed.

     11              Q.   Oh, I see.

     12                   And do you still live here in this area?

     13              A.   Yes.

     14              Q.   Okay, and what's your company name?

     15              A.   Spanish Speaking, LLC.                              I own two

     16      companies.     And then Atvara Hot Yoga Lounge.

     17              Q.   Okay.

     18              A.   It's a yoga studio.

     19              Q.   Okay, and is that the only work you've

     20      primarily done since you left Market America in

     21      2018?

     22              A.   Yes.

     23              Q.   Okay.     Now, what, if anything, did you do

     24      to prepare for today's deposition?

     25              A.   I reviewed some emails.

             *Copy*               Lee v. Market America                                     04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 8 of 110
          Liliana Camara                      1:18-cv-1046                                Page 8

      1              Q.   Anything else?

      2              A.   That's it.

      3              Q.   That's it?

      4              A.   That's it.

      5              Q.   Have you looked at the pleadings in this

      6      case?

      7              A.   No.

      8              Q.   And have you looked at a document that's

      9      entitled Defendant's Initial Disclosures?

     10              A.   No.

     11              Q.   You haven't?

     12              A.   No.

     13              Q.   Okay.     Well, just according to that

     14      document, I would submit to you that you have been

     15      identified as a witness who has knowledge of various

     16      things pertaining to Ms. Lee.                             And I'm going to talk

     17      to you about those various things that pertain to

     18      Ms. Lee.     And just one at a time.                                Okay?

     19                   Because there's about four or five things

     20      that you have been identified as having knowledge

     21      of.

     22                   And so that's primarily what I want to

     23      talk to you about today.                     Okay?

     24              A.   Okay.

     25              Q.   Now, my understanding is that at the time

             *Copy*               Lee v. Market America                                   04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 9 of 110
           Liliana Camara                   1:18-cv-1046                                Page 9

       1      Ms. Lee left Market America in October of 2017, you

       2      were her supervisor.            Is that correct?

       3            A.   Correct.

       4            Q.   Okay, and as her supervisor, what was your

       5      interaction with Ms. Lee generally on a day-to-day

       6      basis?

       7            A.   We would be in meetings, talk personally

       8      or exchange emails about whatever was going on for

       9      the training department.

      10            Q.   Did you physically work in the same

      11      office?

      12            A.   Yes.

      13            Q.   So did you see Ms. Lee on a daily basis?

      14            A.   Yes.

      15            Q.   And when Ms. Lee was performing her job

      16      responsibilities, did you observe her performing

      17      those job responsibilities?

      18            A.   Do you mean like -- I knew she was in her

      19      cubicle, I knew she had trainings going on.                               But I

      20      would never be like in her trainings, in the room

      21      where she was doing it, no.

      22            Q.   So you never observed her trainings?

      23            A.   No.

      24            Q.   And in terms of Ms. Lee's job

      25      responsibility of training, do you have an estimate

              *Copy*            Lee v. Market America                                    04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 10 of 110
           Liliana Camara                      1:18-cv-1046                                      Page 10

       1       of what percentage of her time she spent on

       2       trainings?

       3            A.      What percentage of the time?                                    I do not

       4       remember exactly what percentage it was.                                       No, I

       5       don't.

       6            Q.      Do you think maybe 50 percent of her work

       7       schedule required her to do trainings?

       8            A.      It varied.            It depended on the season,

       9       because we were sort of like a seasonal type

      10       company.

      11            Q.      Uh-huh.

      12            A.      And so sometimes it could be 50 or more,

      13       or sometimes it could be less than 50.

      14            Q.      Okay.     Well, as you sit here today, do you

      15       think Ms. Lee has a better knowledge and

      16       understanding of how much of her time she spent

      17       training while she was at Market America?

      18            A.      Yes.

      19            Q.      All right.            Now, in terms of the trainings

      20       that Ms. Lee conducted, would you agree with me that

      21       some of those trainings were conducted by Zoom or

      22       some type of Internet type profile?

      23            A.      We used to use GoToMeeting.

      24            Q.      And then would you agree with me that some

      25       of those trainings were actual live, in-person

              *Copy*                Lee v. Market America                                         04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 11 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 11

       1       trainings?

       2             A.     Yes.

       3             Q.     Okay, and did some of those live, in-

       4       person trainings happen to be conducted in other

       5       countries?

       6             A.     Yes.

       7             Q.     As you sit here today, do you have a

       8       recollection of what other countries Ms. Lee was

       9       required to perform live, in-person trainings?

      10             A.     Malaysia and Singapore and Taiwan.

      11             Q.     Was Ms. Lee responsible, to your

      12       knowledge, for performing live, in-person training

      13       within the United States?

      14             A.     Yes.

      15             Q.     And what states do you recall that she

      16       might have to go to to perform those live, in-person

      17       trainings?

      18             A.     States other than North Carolina, it was

      19       Monterey, the office that we used to have out in

      20       Monterey.

      21             Q.     California?

      22             A.     Yes.

      23             Q.     Okay.     Anywhere else that you can think

      24       of?

      25             A.     Hmm.

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 12 of 110
           Liliana Camara                       1:18-cv-1046                                 Page 12

       1            Q.      Okay, and, then, with regard to the

       2       GoToMeetings platform that you all used, was Ms. Lee

       3       responsible for conducting the GoToMeetings training

       4       for new hires?

       5            A.      For the new hires?

       6                    Probably the only exception for that would

       7       be Malaysia.        Other than that, no.

       8            Q.      Okay, and on the GoToMeetings format,

       9       would it be Ms. Lee's responsibility to set those

      10       meetings up?

      11            A.      Yes.     It was the responsibility of each

      12       trainer to set up their own trainings.

      13            Q.      Okay.      Now, aside from her interactions --

      14       your interactions with her -- well, let me go back

      15       and ask you this.

      16                    With regard to Ms. Lee's GoToMeeting

      17       trainings, did you ever observe any of those

      18       trainings?

      19            A.      No.

      20            Q.      And with regard to her live, in-person

      21       trainings in other countries, which you've mentioned

      22       Malaysia, Singapore and Taiwan, did you observe any

      23       of those trainings?

      24            A.      No.

      25            Q.      And then, with regard to the live, in-

              *Copy*                 Lee v. Market America                                    04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 13 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 13

       1       person trainings in North Carolina and California,

       2       did you observe any of those trainings?

       3              A.     No.

       4              Q.     And were you required to take any of those

       5       trainings as part of your position?

       6              A.     Yes.   At the beginning, when I was hired,

       7       yes.

       8              Q.     Over what period of time were you required

       9       to take those trainings?

      10              A.     I took the first unfranchise services

      11       training that lasted, if I remember correctly, eight

      12       weeks.      And then some other trainings, new programs

      13       or different things.

      14                     So I would say within the first probably

      15       two to four months that I was there, I would attend

      16       her trainings.

      17              Q.     During those trainings, was Ms. Lee the

      18       only individual who was performing or conducting the

      19       training sessions?

      20              A.     Yes.   And Cherri would do a segment, maybe

      21       like the customer service or soft skills for the

      22       representatives.         So she would do that segment.                          But

      23       it wa a small segment.

      24              Q.     Okay, so primarily, the segments or the

      25       sessions rather, would be conducted by Ms. Lee.

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 14 of 110
           Liliana Camara                       1:18-cv-1046                                     Page 14

       1       Correct?

       2            A.      Yes.

       3            Q.      Okay, and you mentioned this.                                    You said

       4       the unfranchise service.                      That was considered the

       5       UFS training.        Correct?

       6            A.      Yes.

       7            Q.      And the other training that Ms. Lee also

       8       engaged in was the MPCP training.                                    Correct?

       9            A.      Yes.

      10            Q.      Okay.      I'm aware that she conducted those

      11       trainings regularly.                She also conducted trainings

      12       for new hires, as well as refreshers for current

      13       employees.     Correct?

      14            A.      Yes.

      15            Q.      Now, were you ever physically observing

      16       any of the trainings that Ms. Lee conducted with

      17       regard to the new hires?

      18            A.      The first one that I took, yes.

      19            Q.      Yeah.      Not for yourself, but for other

      20       individuals who were newly hired with the company

      21            A.      No.

      22            Q.      Okay, and other than the refreshers that

      23       you say you actually took, did you observe Ms. Lee

      24       in any of her other refresher training courses?

      25            A.      No.

              *Copy*                 Lee v. Market America                                        04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 15 of 110
           Liliana Camara                      1:18-cv-1046                                       Page 15

       1               Q.   Okay.     Now, as you sit here today, do you

       2       have a recollection of any other primary job

       3       responsibilities that Ms. Lee had other than

       4       training?

       5               A.   No.

       6               Q.   None?

       7               A.   No recollection.                     No.

       8               Q.   Was Ms. Lee required to submit any type of

       9       data compilations to you regarding the training that

      10       she conducted?

      11               A.   I mean, other than -- we would -- I'm

      12       fuzzy on this memory.                 But we would keep sort of

      13       like a little database or an idea map of what

      14       everybody was working on or had been working on.                                         So

      15       maybe like a summary or a list, this is what I'm

      16       doing, this is what I'm doing.                              So we would all do

      17       that.

      18               Q.   Okay, so was Ms. Lee required to submit

      19       that summary of what she was doing to you on a

      20       general basis or a daily, regularly, monthly basis?

      21               A.   Maybe at least once a year.                                     If it was

      22       more than that, it wasn't too often.

      23               Q.   Okay.     Was there a time where you required

      24       Ms. Lee to submit any type of written documentation

      25       to you about any of her work performance when she

              *Copy*                Lee v. Market America                                          04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 16 of 110
           Liliana Camara                     1:18-cv-1046                                 Page 16

       1       failed to do so?

       2               A.   Can you rephrase that question?

       3               Q.   Yes.

       4                    Was there ever a time when you required

       5       Ms. Lee to submit something to you in writing

       6       regarding her job performance and she failed to do

       7       that?

       8               A.   Not that I remember.

       9               Q.   Okay, and was there ever a time when Ms.

      10       Lee was required to perform a GoToMeeting type

      11       training when she failed to do that?

      12               A.   Not that I remember.

      13               Q.   Was there ever a time when Ms. Lee was

      14       required to perform a live, in-person training

      15       outside the United States and she failed to do that?

      16               A.   Outside of the United States, no.

      17               Q.   And was there ever a time when Ms. Lee was

      18       required to perform a live, in-person training

      19       within the United States ---

      20               A.   --- Oh, hold on.                    I just remember

      21       something ---

      22               Q.   --- Okay.

      23               A.   --- About the outside of the U.S.

      24                    So there was a time where Spain, the Spain

      25       office had hired someone whose first language was

              *Copy*               Lee v. Market America                                    04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 17 of 110
           Liliana Camara                    1:18-cv-1046                                        Page 17

       1       Mandarin.    Because they identified that the majority

       2       of their unfranchise services people were Mandarin

       3       speakers.    So they wanted someone to be able to talk

       4       to them in their first language.                               And Oriental

       5       languages, most of them didn't speak anything other

       6       than Mandarin.

       7                   And, then, she was also -- this person was

       8       also tri-lingual.         So she spoke Mandarin, English

       9       and Spanish.     Because she had been living in Spain.

      10                   And so the request that I got from the

      11       Spain office was that it was their preference for

      12       that training to happen in Mandarin.                                       So I asked

      13       Nadine what her thoughts on that was, and it was

      14       something that she could fit in her schedule.

      15                   And she said that, no, that she suggested

      16       it should be the same way in which we did the other

      17       trainings in the U.S., which was if the person was

      18       bilingual, then do it in the local -- you know, with

      19       the local program.          Because it differed slightly

      20       country to country.

      21                   So she did not do that one, even though

      22       that would have been the preference from the client,

      23       internal client, which was the Spanish office, and

      24       myself.

      25            Q.     Okay, and in that particular incident, you

              *Copy*              Lee v. Market America                                           04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 18 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 18

       1       said Nadine determined that it wouldn't fit in her

       2       schedule, and that's partially why she didn't want

       3       to do it.    Is that right?

       4            A.     What I remember was that it didn't fit in

       5       her schedule.       But it was more like she suggested

       6       that we should do it the way we did the other

       7       trainings, which was in English or in the local

       8       language.    In this case, would be in Spanish.

       9            Q.     Uh-huh.         Okay, and so was that a problem?

      10            A.     No.     I mean -- no.                      I would say not

      11       necessarily.

      12            Q.     Okay.      Now, was Ms. Lee responsible for

      13       setting her own schedule?

      14            A.     Yes.

      15            Q.     Did she have to clear her schedule with

      16       you for approval?

      17            A.     No.

      18            Q.     And at the time, with regard to this

      19       incident that you just spoke of, the Spanish

      20       individual, did the company lose any money as a

      21       result of Ms. Lee's suggestion that the training be

      22       conducted like it normally would?

      23            A.     No.     Well, I mean, I couldn't say that for

      24       sure, but I wouldn't think so.                              Because the training

      25       was eventually conducted, and everything worked

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 19 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 19

       1       fine.

       2               Q.   Okay, so I was asking you -- my next

       3       question was going to be was there a time when Ms.

       4       Lee was required to conduct training within the

       5       United States and she failed to do so?

       6               A.   Yes.    So that was more of an issue when we

       7       hired anyone that spoke Mandarin and very little to

       8       none English.       So in that case, she would be asked

       9       to perform a different -- sort of like the same

      10       training that was happening in this room, she was

      11       asked to do it in a different place with the new

      12       hires that were not bilingual.                              And she would

      13       refuse.

      14               Q.   Okay, and when do you recall that

      15       happening?

      16               A.   So there were two instances that I

      17       remember very clearly.                  There may have been more.

      18       One was when I actually was in charge of that

      19       unfranchise services training.                              And two reps sat on

      20       my training for the entire time, and they were

      21       eventually falling asleep in the middle of my

      22       training because they did not understand a word of

      23       what I was saying.            So that was one.

      24                    And then ---

      25               Q.   --- They didn't understand what you were

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 20 of 110
           Liliana Camara                    1:18-cv-1046                                   Page 20

       1       saying?

       2             A.    Yes.   Because they didn't speak any

       3       English.

       4             Q.    So how did that affect Nadine?

       5             A.    Because she refused to do that training

       6       for them in Mandarin.

       7             Q.    So are you saying because she refused to

       8       do it, you had to do it, or -- I'm not ---

       9             A.    --- They have to sit in my training, yes.

      10             Q.    Okay, and then go ahead.                                I'm sorry.

      11             A.    And so that was one.

      12                   And then another one was when a group --

      13       this was a group, and I don't remember exactly the

      14       number.    But it may have been maybe five reps.                                  And

      15       all of them were not bilingual.

      16                   So it was a long back-and-forth basically,

      17       almost until the point that were like, I'm sorry,

      18       but you are going

      19       to have to do it, because they really and truly

      20       don't speak English, so there's nothing we can do.

      21                   But there was a lot of resistance to do

      22       it.   And then we had -- when it finally happened

      23       that she eventually did the training, we ended up

      24       having a lot of concerns about how the quality of

      25       that training was.          You know, the performance and

              *Copy*              Lee v. Market America                                         04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 21 of 110
           Liliana Camara                   1:18-cv-1046                                    Page 21

       1       the overall quality of the training.

       2            Q.     Okay, and when you say we had concerns

       3       about the overall quality of the training, who are

       4       you referring to?

       5            A.     I'm referring to myself and Sherry and

       6       Brandi, the head of the unfranchise services

       7       department.

       8            Q.     And did you sit down and talk to Ms. Lee

       9       about it?

      10            A.     No.

      11            Q.     Why not?

      12            A.     Let's see, how do I -- I think that at

      13       that point, I was taxed with having tried to

      14       communicate with Nadine in the past, and getting a

      15       lot of resistance as far as, I'm not going to do

      16       that, you don't need to know about that.                                  There

      17       would be -- I would always try to get her involved

      18       in what the team was doing, or get like decision-

      19       making.

      20                   And in my leadership style, decisions

      21       should be a group.         You know, as a team, we're going

      22       to look at the advantages, disadvantages, and decide

      23       what is best for the team.                     And I never felt like

      24       that was her mode of operating.

      25                   So it was whatever she decided to do,

              *Copy*             Lee v. Market America                                       04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 22 of 110
           Liliana Camara                    1:18-cv-1046                                       Page 22

       1       that's what she was going to do.                               And she was doing

       2       it right, and there was no questions.                                      You know,

       3       there was no question about that.                                 So that's part of

       4       it.

       5                    And then, the other part was that the

       6       person who raised the concern about the quality of

       7       the training was very adamant.                            When she raised the

       8       concern to us, and by us I mean Brandi first, then

       9       myself.     And Brandi and I had a conversation with

      10       Sherry.     She asked please do not share that I was

      11       the person bringing this up, because I am afraid

      12       this is going to affect, you know, my work

      13       environment.

      14                    So we -- I mean, I wasn't going to sit

      15       down with Nadine and say, oh, this person is saying

      16       -- is raising concerns about the content and the

      17       quality and what's happening.                           Because we had agreed

      18       to respect that person's request or desire of not,

      19       you know -- or whatever she was saying to not be

      20       discussed out in the open.

      21             Q.     When did this occur?

      22             A.     I am really fuzzy on those dates.                                   But it

      23       was -- it was that last training.                                 Then there has to

      24       be documentation on when that last training

      25       happened.

              *Copy*              Lee v. Market America                                          04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 23 of 110
           Liliana Camara                    1:18-cv-1046                                      Page 23

       1            Q.      Well, give me specifics of when that last

       2       training would have happened or where it would have

       3       happened, how -- the context of that last training

       4       so I can see if I can figure out ---

       5            A.      --- So it happened, it was -- if I

       6       remember correctly, there were going to be third

       7       shift reps, and -- which was another issue.                                     Because

       8       unfranchise services was requesting for their

       9       training to happen sort of like close to a third

      10       shift.     So that it wouldn't be comfortably working

      11       an eight-to-five or six-to-eight weeks and then all

      12       of a sudden going into the night.

      13                    So they request that if we could shift the

      14       training hours.      That was another thing that Nadine

      15       was very

      16       resistant of, which I understood that.                                     And nobody

      17       wants to work on weird hours.                           But it was the nature

      18       of the business.

      19                    So whenever we had to do, you know,

      20       certain adjustments, we were all willing to do that,

      21       because we knew it was temporary.                                 It was just for

      22       that period of time.

      23                    So it was third shift employees.                                  It was,

      24       if I remember correctly, at least five.                                     And the

      25       training happened in the building.                                  So in the Market

              *Copy*              Lee v. Market America                                         04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 24 of 110
           Liliana Camara                    1:18-cv-1046                                      Page 24

       1       -- in the Greensboro office.                         And it'll be in one of

       2       the big conference rooms, not in the training.

       3                  Because I think the training room was

       4       occupied at the time, because this was -- the

       5       training was happening simultaneously.                                     So we had

       6       one group here, and then Nadine was training this

       7       other group.

       8            Q.    Okay, so who was the person that

       9       complained?

      10            A.    Rose.

      11            Q.    Rose?

      12            A.    Uh-huh.

      13            Q.    What's Rose's last name?

      14            A.    It completely escaped my mine.

      15            Q.    Rose complained to you.                                Is that correct?

      16            A.    First to Brandi.

      17            Q.    Okay.

      18            A.    And then Brandi reached out to me.                                    And

      19       then I sat down with Rose.                      Because she was being

      20       trained.   She was bilingual.

      21            Q.    What were her two languages?

      22            A.    Mandarin and English.

      23            Q.    Okay, so she sat down with Brandi first.

      24       And what was Brandi's title?

      25            A.    Franchise services director.

              *Copy*              Lee v. Market America                                         04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 25 of 110
           Liliana Camara                       1:18-cv-1046                                      Page 25

       1               Q.     And then she spoke to you?

       2               A.     Yes.

       3               Q.     Without Brandi being present?

       4               A.     I can't -- I don't remember exactly the

       5       order.       All I remember is Brandi reaching out to me,

       6       saying there's this concern, this is happening.                                        And

       7       from that point, I may have talked to Rose by

       8       myself, or Brandi may have been there.                                        I just -- I

       9       do remember all of us being -- you know, talking

      10       about it together.

      11               Q.     Uh-huh.       And did you say that Cherri --

      12       was it Sherry Spesock or was it Cherri Watson who

      13       was present?

      14               A.     Sherry Spesock.

      15               Q.     Okay, so it was you, Brandi and Sherry

      16       Spesock?

      17               A.     Uh-huh.

      18               Q.     And at the time, what was Sherry Spesock's

      19       role?

      20               A.     The director of human resources.

      21               Q.     All right, so this incident, you can't

      22       remember exactly when it happened.                                     But you know it

      23       pertained to the third-shift employees having some

      24       training in the Greensboro conference room?

      25               A.     Yes.

              *Copy*                 Lee v. Market America                                         04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 26 of 110
           Liliana Camara                   1:18-cv-1046                                 Page 26

       1            Q.   And you believe that the person who

       2       complained was Rose?

       3            A.   Yes.

       4            Q.   Was there anyone else who complained?

       5            A.   No.

       6            Q.   She was the only one?

       7            A.   Yes.

       8            Q.   And you say you all did not talk to Nadine

       9       about this at all.         Correct?

      10            A.   Yes.    Uh-huh.

      11            Q.   Do you know if Sherry talked to Nadine

      12       separately about it?

      13            A.   I don't know.

      14            Q.   Okay, and also, before we go on to the

      15       next point, you talked about another instance before

      16       you talked about the third-shift employees.                               You

      17       talked about another incident.

      18            A.   Yes.

      19            Q.   Okay.     What is your recollection of when

      20       that incident occurred?

      21            A.   It was before the last one I talked about,

      22       but I cannot remember exactly when that one was.

      23            Q.   When that incident occurred, did you speak

      24       to Nadine about it?

      25            A.   Yes.    I would tell Nadine several times,

              *Copy*             Lee v. Market America                                    04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 27 of 110
           Liliana Camara                     1:18-cv-1046                                   Page 27

       1       you know, are you sure we're not reconsidering this.

       2       I mean, they are falling asleep.                                And I don't even

       3       feel like I should tell them to wake up, because to

       4       wake up for what, you know.

       5            Q.      Uh-huh.

       6            A.      They could not understand anything.

       7                    And she said, well, this is how we've been

       8       doing it.     And I'm not -- you know, they have to --

       9       like it was very -- that was very frustrating.

      10       Because I felt like I could never send my point

      11       across of they don't understand the language.

      12                    It's not that I don't want to -- I mean, I

      13       already had six other people in the room.                                   Two more

      14       didn't matter to me.              It's not -- I mean, I don't

      15       want somebody to spend the exact same amount of time

      16       I'm spending doing something, doing the same thing

      17       just for the, you know, fun of it.

      18                    It was because they were not getting --

      19       they were not being trained.

      20            Q.      And were these new hires?

      21            A.      Yes.

      22            Q.      Okay, so you can't remember when it

      23       happened, but you remember that the individuals were

      24       new hires?

      25            A.      Yes.

              *Copy*               Lee v. Market America                                      04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 28 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 28

       1            Q.    And I believe you said that the ---

       2            A.    --- This was an eight-week training.

       3            Q.    Okay, and I believe you said that the

       4       training ultimately did happen.                              But it was that the

       5       people -- you felt like the individuals didn't

       6       understand.

       7            A.    Uh-huh.

       8            Q.    And this was during the time that you also

       9       were getting your new-hire training, or not?

      10            A.    I was doing that new-hire training.                              I was

      11       teaching that training for eight weeks.

      12            Q.    And Ms. Lee's role was just teaching a

      13       segment of that session?

      14            A.    No.    She didn't teach any of it.

      15            Q.    Okay, and did you complain about that to

      16       anyone other than the verbal complaints that you

      17       made to Ms. Lee?

      18            A.    To Colbert.

      19            Q.    Okay, so you recall that this happened

      20       during the time when Colbert was Ms. Lee's manager?

      21            A.    Yes.

      22            Q.    So it was before you became Ms. Lee's

      23       manager.   Is that right?

      24            A.    It must have been, because -- yes, I

      25       believe so.

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 29 of 110
           Liliana Camara                    1:18-cv-1046                                  Page 29

       1             Q.   So, then, we agree that it could not have

       2       happened after 2016?

       3             A.   I am -- I really don't remember.                                I'm very

       4       fuzzy on the specific dates.

       5             Q.   Okay, but what you do recall and what

       6       you're certain of is that Colbert was Ms. Lee's

       7       manager at the time this incident occurred.

       8       Correct?

       9             A.   So Colbert started -- let's see.                                I came

      10       in November of 2013.

      11             Q.   Uh-huh.

      12             A.   And then for a while, and I don't remember

      13       how long that while was, we did not really had a

      14       head of training.         Because Amanda wasn't replaced

      15       immediately.   But then a few months later, and I

      16       wish I could remember when that was, Colbert came

      17       in.

      18             Q.   Okay.     Let me just hand you this document,

      19       it might help to refresh your recollection about

      20       when everything happened.                     Okay?

      21                  What I'm handing you is the Declaration of

      22       Liliana Camara.      And it is -- it has been marked ---

      23             A.   --- Oh, this one from a while ago.                                Okay.

      24       Never mind.

      25                  Is this the thing you asked me at the

              *Copy*              Lee v. Market America                                     04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 30 of 110
           Liliana Camara                      1:18-cv-1046                                       Page 30

       1       beginning if I remember seeing or have seen?                                        No.

       2              Q.    No.

       3              A.    Okay.

       4              Q.    Okay.     What I've handed you is the

       5       Declaration of Liliana Camara, which, unfortunately,

       6       I do not see a date on this document.                                        Now, I mean,

       7       I could be wrong.           If you see one, you can point it

       8       out.     So I'm not sure when you would have prepared

       9       this document.

      10                    But I'm assuming that it was after

      11       Nadine's termination ---

      12              A.    --- Yes.

      13              Q.    --- In October of 2017.

      14              A.    Uh-huh.

      15              Q.    It had to have been made sometime after

      16       October 5th of 2017.

      17              A.    Yes.

      18              Q.    Can we agree to that?

      19              A.    Yes.

      20              Q.    Okay, and, then, perhaps you can review

      21       it, and it might refresh your recollection of when

      22       Colbert was there.

      23              A.    Do you have a date for when Colbert was

      24       hired?

      25              Q.    I do not.

              *Copy*                Lee v. Market America                                          04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 31 of 110
           Liliana Camara                       1:18-cv-1046                                 Page 31

       1                            MS. GRAY:                For the record, this

       2       document that I've handed you, the Declaration of

       3       Liliana Camara, has already been produced to counsel

       4       as part of a request for production of documents.

       5       It's Bates stamped MA012 through MA014.

       6                    I'm not going to attach it as an exhibit

       7       to this deposition because it would just be

       8       duplicitous.

       9                            MS. DEBOARD:                     That's fine.

      10               Q.   (Ms. Gray)             If you would like, please just

      11       take a minute to review this document, because I'm

      12       going to ask you some questions about it.

      13               (Witness examined document)

      14               A.   Okay.      I'm done.

      15                    So going back, unfortunately, I don't see

      16       anything here that can help me remember when the

      17       issue with the two reps that were in my training

      18       class happened.         But what I do see here is that in

      19       2017.

      20                    So we talked about this training that

      21       needed to happen separately for these reps for third

      22       shift in February of 2017.                         And the other issue was

      23       way before.     So it had to have been somewhere around

      24       2016, maybe late 2015.                   I don't know.

      25               Q.   Okay.      Well, it says in paragraph number

              *Copy*                 Lee v. Market America                                    04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 32 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 32

       1       five, on August 15th, 2016, I was promoted to global

       2       training manager.         Nadine refused to report to me.

       3       So an accommodation was reached where Nadine

       4       reported to Colbert Trotter, director of global

       5       talent and organizational development.

       6                  This continued until Colbert left Market

       7       America on November 11, 2016.                           At that time, I took

       8       over all training responsibilities and Nadine

       9       reported to me.

      10             A.   Correct.

      11             Q.   So based on that paragraph, would you

      12       agree that this incident, the first incident you

      13       talked about, could not have occurred after November

      14       ---

      15             A.   --- Oh, yes.               Yes.

      16             Q.   Let me finish my question.

      17             A.   I'm sorry.

      18             Q.   November 11, 2016?

      19             A.   Yes.

      20             Q.   Okay.     All right.                    Good.

      21                  Now, let's go back and talk about -- those

      22       are the only two instances that you're

      23       aware of where Nadine was asked to do some type of

      24       live, in-person training within the United States,

      25       and there was some problem associated with it or she

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 33 of 110
           Liliana Camara                          1:18-cv-1046                                      Page 33

       1       refused to do it.               Correct?

       2               A.      Those are the two that I have best

       3       recollection of it.                  But it seems to me like every

       4       time there was a Mandarin speaker rep that wasn't

       5       fluent in -- that wasn't bilingual, we would ask,

       6       and the answer will always be no.

       7               Q.      Did you document that?

       8               A.      No.

       9               Q.      Why not?

      10               A.      This is not -- what I'm about to say is

      11       probably not a good reason for why not documenting.

      12       But I had a sense -- and this was from my experience

      13       from the very first day on the job.                                          That Nadine did

      14       whatever she decided she was going to do in her work

      15       duties.

      16                       Like this is what I do, that's it.                                     Nobody

      17       tell me what I need to do.                            This is -- I decide my

      18       workload, my trainings, my everything.                                           This is what

      19       I do.        And I'm not going to do what I'm being told

      20       by anybody, supervisor, anybody.

      21                       And so it was almost to me like that was

      22       it.     That was the law of the land, sort of, in that

      23       department.           And it honestly never occurred to me to

      24       say let's document this thing that I see from day

      25       one.

              *Copy*                    Lee v. Market America                                         04/27/21
                                        Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 34 of 110
           Liliana Camara                     1:18-cv-1046                                   Page 34

       1               Q.   Well, did it occur to you to document it

       2       after you became her supervisor?

       3               A.   What I did do after I became her

       4       supervisor was I created a separate folder.                                   When

       5       every time I would ask

       6       for something and the answer would be no, I'm not

       7       going to do that, or no -- or somebody else do it,

       8       then I would put that in a separate folder as a way

       9       to, if I needed -- because we will be interchanging

      10       several emails for several things.                                   So that if I did

      11       -- you know, if I have to explain that refusal or

      12       that attitude, I had an easy place to find it.

      13               Q.   And what happened to this separate folder?

      14               A.   I gave that to Sherry when I left.

      15               Q.   Sherry Spesock?

      16               A.   Yes.

      17               Q.   So just so I'm clear, you had a separate,

      18       secret folder?

      19               A.   No, not a secret, no.

      20               Q.   Who knew about the folder while you were

      21       there?

      22               A.   It must have been like an Outlook folder

      23       where you put stuff, like when you organize your --

      24       so that was it.       It wasn't secret or anything like

      25       that.

              *Copy*               Lee v. Market America                                      04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 35 of 110
           Liliana Camara                       1:18-cv-1046                                  Page 35

       1            Q.      Who had access to see it?

       2            A.      I mean, the company has access to all of

       3       our emails, so....

       4            Q.      Well, what I don't understand from you, as

       5       a supervisor, Nadine's supervisor specifically, are

       6       you saying to me that rather than speak to Ms. Lee

       7       or document what she wasn't doing and sharing it

       8       with, say, human resources, you just decided to keep

       9       a separate folder just in case you might need it at

      10       some point in the future?

      11            A.      No.     No.       That's not what I said.

      12            Q.      Okay.

      13            A.      So we did actually -- so I did talk to

      14       Nadine several times about can we work together, can

      15       we work as a team, can we agree -- you know, kind of

      16       -- I would reach out to her several times.                                    And I

      17       will explain to her, I don't understand why you're

      18       refusing to conduct these trainings in Mandarin if

      19       they do not speak English.

      20                    And the answer would always be the same.

      21       Well, no, because that -- I'm not doing those

      22       trainings.     You know like it will be that refusal.

      23       We will talk about it with Colbert, of course.                                    We

      24       will talk about it after.                        I did talk about it with

      25       Sherry.

              *Copy*                 Lee v. Market America                                     04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 36 of 110
           Liliana Camara                  1:18-cv-1046                                 Page 36

       1                  But it was very -- I did complain to

       2       Nadine that I did not feel I was getting the

       3       teamwork environment that I was hoping for.                              That

       4       she -- in a lot of ways I felt like she was imposing

       5       her will on what she was going to do and wasn't

       6       going to do, and that I did not want to run the

       7       training department in that way.                             But nothing change

       8       anyway.   So I did talk to her several times.

       9            Q.    Uh-huh.      So when you talked to Nadine, did

      10       you ever give her a written reprimand for poor job

      11       performance?

      12            A.    Not that I remember.

      13            Q.    Did you ever give her a written reprimand

      14       for insubordination?

      15            A.    No.

      16            Q.    Did you ever go to Sherry and instruct

      17       Sherry or discuss with Sherry your need to issue a

      18       written reprimand to Nadine?

      19            A.    No.

      20            Q.    For any reason, you never spoke to Sherry

      21       about Nadine's job performance until you decided to

      22       terminate her.   Correct?

      23            A.    Oh no, no, no, no.                      We did talk about it.

      24       I just didn't say here's what I need to do, or do I

      25       reprimand or write her or anything like that.

              *Copy*            Lee v. Market America                                    04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 37 of 110
           Liliana Camara                       1:18-cv-1046                                       Page 37

       1                      But it was very -- it was like a known

       2       issue that Nadine would impose whatever she decided

       3       that she was going to do.                        It was a known issue for

       4       all of us that worked with her.

       5               Q.     Uh-huh.

       6               A.     And so I did talk about it with Sherry,

       7       with Colbert, even with Amanda.

       8                      Because just as an example, the first day

       9       on my job when I was introduced to the group, Amanda

      10       discussed, okay, here's how we're going to do this.

      11       Here's how we're going to divide up the workload.

      12       And Nadine, in front of the entire group, refused

      13       and challenged Amanda and said I'm not going to do

      14       that.

      15                      And so we had to end the meeting with

      16       Amanda saying, okay, Nadine, you and I are going to

      17       discuss this, and then we'll get back to the group.

      18       So it was always like that.

      19                      So I'm not going to do that, I don't

      20       agree.       I'm not going to do it.                            This is what I'm

      21       going to do, and that's it.                           So it was -- that was

      22       the sense always.

      23               Q.     That was your sense always.                                    Correct?

      24               A.     Yes.

      25               Q.     And a sense that you never really shared

              *Copy*                 Lee v. Market America                                          04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 38 of 110
           Liliana Camara                     1:18-cv-1046                                     Page 38

       1       in a way that could have been documented to affect

       2       Nadine's job performance, i.e., written performance

       3       evaluations or written reprimands.                                   Correct?

       4            A.     Written?         No.

       5            Q.     So you just say you just tolerated it.                                     Is

       6       that what you're saying?

       7            A.     Yes.

       8            Q.     Why?    Why would you just tolerate that?

       9            A.     So honestly, this was a pretty tough job.

      10       Right?    So ---

      11            Q.     --- Wait.           Wait.            Whose job are you

      12       referring to was ---

      13            A.     --- Working in the job ---

      14            Q.     --- Nadine's or yours?

      15            A.     So the -- I'm going to talk specifically

      16       about the unfranchised services training.

      17            Q.     Okay.

      18            A.     It was the toughest part of that job.                                     And

      19       one thing that was very evident was that after doing

      20       that job for a while, you became burned out.

      21                   So part of the reasons why Nadine will

      22       refuse, and she'll talk about this a lot, is I've

      23       been doing this for too long, I'm tired.                                    I don't

      24       want to do this anymore.                    And honestly, I totally

      25       understood.

              *Copy*               Lee v. Market America                                        04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 39 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 39

       1                   Because with -- I mean, it was super

       2       taxing.    And I would try to put myself in her shoes

       3       as much as I could.            I mean, like I would be like if

       4       I had been doing this for 17 years, I would be

       5       wanting to not do it either.                         You know what I mean?

       6                   So it wasn't -- so tolerating to me was,

       7       to a degree, you know, that tolerance ended at some

       8       point.    But it was because I understood the human

       9       aspect of, man, you've been doing this for too long.

      10                   And it was almost like an inside joke

      11       whenever we were doing that training, my husbands

      12       knew to not even talk to us when we got home because

      13       we were taxed.

      14                   And so it was a little bit of me trying to

      15       be understanding of Nadine's history, and respecting

      16       the fact that she had been there for a long time,

      17       doing it mostly by herself.                        So she was sick and

      18       tired of it.

      19            Q.     So your testimony is that you overlooked

      20       what you thought were issues regarding Nadine's job

      21       performance because you were looking at the human

      22       aspect of what Nadine was going through?

      23            A.     Yes.   That was a part of it, yes.

      24            Q.     And in doing so you ultimately decided to

      25       fire her, though, didn't you?

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 40 of 110
           Liliana Camara                      1:18-cv-1046                                     Page 40

       1            A.     No.     That's not how I would put it.                                    When

       2       the decision at the end was you keep refusing to do

       3       a thing that makes sense for you to do.                                      You're the

       4       only one that speaks that language in this

       5       department.       Right?

       6                   So you keep refusing to do it, and it's

       7       pulling teeth, and it's taking so much effort to

       8       finally almost having to tell you whether you're

       9       wanting to do it or not, you are going to do it.

      10       Which is not the management style I like.                                      I like to

      11       work with people, not bark orders and say because I

      12       say so.    Right?

      13                   But it eventually ended up -- with this

      14       particular last training, it eventually ended up

      15       being the case.        Because I'm not going to have five

      16       people sitting in a training that do not speak

      17       English.    You know, it's just ridiculous.

      18                   And then, at the end, you're doing it, and

      19       you're doing it poorly.                    So we've tried.                    We've

      20       given you enough chances to reconsider your attitude

      21       and work with us as a team.                          And you're still not

      22       doing it, so we don't see another option.

      23            Q.     Well, when you said you've given her

      24       enough chances, you never told her that she was in

      25       jeopardy of losing her job because she was not doing

              *Copy*                Lee v. Market America                                        04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 41 of 110
           Liliana Camara                  1:18-cv-1046                                  Page 41

       1       it or performing it properly.                         Correct?

       2            A.   Correct.

       3            Q.   So when you say you've given her enough

       4       chances, what are you talking about?

       5            A.   Pointing out that we needed her to do

       6       this, that it makes sense for her to do this.                               That

       7       I complained several times directly to her, can you

       8       be a team player.       I need a team.                          We're not going

       9       to be able to deliver all of this workload if we

      10       don't work as a team.

      11            Q.   What kind of job repercussions did you

      12       suffer because of Nadine's deficiency in terms of

      13       performing training?

      14            A.   We -- I knew that the unfranchised

      15       services reps that were not being trained in English

      16       were doing a poor job at their job, at their job,

      17       because they were not trained properly.

      18            Q.   And so how did that affect your department

      19       or how did that affect you?

      20            A.   It affected the quality of what we did.

      21       We were supposed to deliver these reps ready to take

      22       calls and answer the customer's questions.                               And they

      23       were not equipped to do that because their training

      24       did not happen optimally.

      25            Q.   And how many people are you talking about?

              *Copy*            Lee v. Market America                                     04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 42 of 110
           Liliana Camara                    1:18-cv-1046                                    Page 42

       1              A.    At least the two that I talked about

       2       before.     And then the other five.                              And I can't

       3       recall the exact number.                   But it was either five or

       4       six.

       5              Q.    So are you telling me that Nadine's,

       6       quote, poor job performance affected up to seven

       7       people in the department?

       8              A.    So seven people in the unfranchised

       9       services department.

      10              Q.    Uh-huh.

      11              A.    And then on our end, particular in our

      12       department, it'll be that whatever she refused to

      13       do, then we'll have to do it.                           And there was a huge

      14       project that we undertake at some point of creating

      15       like a data -- like a learning management system, a

      16       Wiki type documenting platform for all of the

      17       training, documenting everything training-wise.

      18                    And so we needed the entire team to work

      19       on that project.       It was a huge project.                              And Nadine

      20       refused to work on it.

      21                    So whatever, you know, could have been her

      22       thing to do, it was, Henri, you do it, Abby, you do

      23       it.    Somebody else do it, because I'm not going to

      24       do that.

      25              Q.    Now, you're saying she refused to work on

              *Copy*              Lee v. Market America                                        04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 43 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 43

       1       this huge project.          Did you reprimand her written

       2       then?

       3               A.   No.

       4               Q.   And when did that occur?

       5               A.   The Confluence project, that was -- when

       6       was that?     I want to say we worked on that project

       7       at least for about two years by the time I left.

       8       And I left in March ---

       9               Q.   --- Of 2018.

      10               A.   --- Of 2018.

      11                    So it should have been at some point in

      12       2016.

      13               Q.   So you're saying that the project that

      14       Nadine refused to work on was the Confluence

      15       project?

      16               A.   Uh-huh.

      17               Q.   But you never reprimanded her for that?

      18               A.   No.

      19               Q.   And it went on for two years prior to you

      20       leaving.     So then it would have happened at some

      21       point in 2016?

      22               A.   I believe so.

      23               Q.   Beginning in 2016, at least.

      24               A.   Uh-huh.

      25               Q.   And during that period of time, we've

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 44 of 110
           Liliana Camara                        1:18-cv-1046                                      Page 44

       1       agreed that Colbert was, partially during that time

       2       ---

       3               A.      --- Yes.

       4               Q.      --- Was Nadine's supervisor.                                   Correct?

       5               A.      (Witness indicated affirmatively)

       6               Q.      Did you ever go back and look at the

       7       employee performance review that Colbert gave to

       8       Nadine in April of 2016?

       9               A.      No.

      10               Q.      Did you ever talk to Colbert about the

      11       performance review she gave Nadine in 2016?

      12               A.      No.   That I remember.

      13               Q.      According to Colbert, Nadine did a good

      14       job of building relationships with her coworkers in

      15       2016.        Are you aware of that?

      16               A.      No.

      17               Q.      In fact, Colbert gave Nadine a very good

      18       job performance evaluation in 2016.                                        Are you aware

      19       of that?

      20               A.      No.

      21               Q.      And the complaints that you've made here

      22       today about what Nadine did or didn't do in 2016,

      23       are you aware that it's not documented at all by

      24       Colbert in any review that she gave Nadine?

      25               A.      No.

              *Copy*                  Lee v. Market America                                         04/27/21
                                      Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 45 of 110
           Liliana Camara                     1:18-cv-1046                                 Page 45

       1             Q.   So is it possible that the only person who

       2       had a problem with Nadine was you?

       3             A.   I don't believe so.                           I don't ---

       4             Q.   --- Was it documented by anyone else that

       5       she was not performing her job well that you know

       6       of?

       7             A.   No.

       8             Q.   And it would have been your

       9       responsibility, as her supervisor, to document her

      10       job performance deficiencies.                            Correct?

      11             A.   Yes.

      12             Q.   Now, let's just go back to your

      13       declaration.      Okay?

      14             A.   Okay.

      15             Q.   In looking at number three, you've

      16       indicated that -- paragraph number three, that is.

      17       You've indicated that you had a master in

      18       translation studies from the University of North

      19       Carolina at Charlotte.

      20             A.   Yes.

      21             Q.   When did you receive that?

      22             A.   2017.      End of 2016, I believe.

      23             Q.   Okay, and then, you also indicated that

      24       you had a degree from the University of North

      25       Carolina at Greensboro.                   Correct?

              *Copy*               Lee v. Market America                                    04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 46 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 46

       1               A.   Uh-huh.

       2               Q.   And then, according to my records, you

       3       attended UNCG for two years.                         Is that right?

       4               A.   Uh-huh.

       5               Q.   Now, how were you able to get a bachelor's

       6       degree in two years from UNCG?

       7               A.   There is a organization called the World

       8       Education Services.            And so what they do is that

       9       when you have a degree from another country, you

      10       submit all of your documentation about that degree,

      11       and then they make an evaluation of what that is

      12       equivalent to in the U.S.

      13                    So I had a bachelor's degree, a four-year

      14       college degree from Colombia.                           And when I submitted

      15       all of my transcripts and my paperwork to the World

      16       Education Services, they came to me and said you

      17       have an equivalent of a bachelor in arts.

      18                    So that put me in a position where I could

      19       only do the major, which was psychology, and then

      20       complete that, because I transfer my credentials

      21       from my four-year college from out of the country to

      22       here.

      23               Q.   Okay, and let's just make sure the record

      24       is clear.     When you say you had a degree from

      25       Colombia, you mean the country.                              Correct?

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 47 of 110
           Liliana Camara                  1:18-cv-1046                                      Page 47

       1            A.   Yes.   Yes.

       2            Q.   Not the university?

       3            A.   No, no, no.

       4            Q.   All right, and then, in number four, you

       5       say Nadine Lee was a staff member of the corporate

       6       training group when you joined the company.

       7            A.   Uh-huh.

       8            Q.   Do you see that?

       9            A.   Yes.

      10            Q.   Nadine was in a management position when

      11       you joined the company, wasn't she?                                  Or do you know?

      12            A.   That I know.              So the manager from that

      13       team, when I was hired, was Amanda.                                  And then Amanda

      14       had Nadine and Sherry under her.                             And it was my

      15       understanding that they were both in the same level

      16       and reported to Amanda, and that was it.

      17            Q.   All right.           Let's go to the second page of

      18       your declaration and look at paragraph six.                                   I

      19       championed a number of initiatives in an effort to

      20       streamline the corporate training program.                                   For

      21       example, I decided that the corporate training group

      22       would transition from Microsoft Office to a

      23       Microsoft program known as Confluence.                                   Confluence

      24       promoted team collaboration, Nadine objected and

      25       refused to learn or work with the tool.

              *Copy*            Lee v. Market America                                            04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 48 of 110
           Liliana Camara                     1:18-cv-1046                                 Page 48

       1                    Do you see that?

       2            A.      Uh-huh.

       3            Q.      Now, is that what you were testifying

       4       about earlier about Nadine refusing to work on

       5       Confluence?

       6            A.      Yes.

       7            Q.      Okay, and I note that in your paragraph

       8       six, you don't provide any type of date or anything

       9       of that nature.

      10       Correct?

      11            A.      Huh-uh.

      12            Q.      Was anyone on the training team using

      13       Confluence at the time that you wanted to transition

      14       to Confluence?

      15            A.      Was anyone on the team?

      16            Q.      Yes.   Was anyone else familiar with

      17       Confluence when you transitioned and decided to

      18       exact this initiative?

      19            A.      So we found out that the company was

      20       already paying for this tool as a part of a package.

      21       And it was not being utilized a lot by different

      22       people.     So there was only like a group of engineers

      23       using it.

      24                    And so we -- Henri and I looked at that

      25       software, or that platform, and thought that we

              *Copy*               Lee v. Market America                                    04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 49 of 110
           Liliana Camara                       1:18-cv-1046                                       Page 49

       1       could accommodate it or make it into the learning

       2       management system that we wanted to have.                                         And so we

       3       learned as we -- so the potential for that, we

       4       learned -- or we just had to learn how to use it.

       5               Q.      Okay, and who did you bring in to teach

       6       the staff about how to use Confluence?

       7               A.      So we talked to -- we got word of this as

       8       a platform from one of the engineers.                                         And he gave

       9       us an overview of how it worked and what he could

      10       do.     That was basically all he did.

      11                       And then, Henri and I started working with

      12       it, and just watching videos on how to build it, how

      13       to create the documents inside, how to do all of

      14       that.        So it was like we were doing it by ourselves.

      15                       And then, the idea was that we were going

      16       to show the rest of the team, which basically at

      17       that point was Abby and Nadine, how to -- you know,

      18       the basics of here is how you start building things.

      19               Q.      Uh-huh.

      20               A.      So here is how you start building things.

      21       And she had the resources, the tutorials, the

      22       videos.        Because we were just learning it by

      23       ourselves.

      24                       And Abby complied.                      She did it.               And then,

      25       Nadine said that she was not in agreement with us

              *Copy*                 Lee v. Market America                                          04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 50 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 50

       1       doing that because she considered that that was us

       2       fixing a problem that it was not up to us to fix.

       3                   That is, the company did not want to spend

       4       any money paying for an LMS for an actual tool that

       5       was designed for that.                  It was not up to us to use

       6       another platform for that goal.

       7            Q.     Okay, so just so I'm clear and I

       8       understand what your testimony is today.

       9                   You said an engineer at Market America

      10       gave you an overview.                 Is that correct?

      11            A.     Uh-huh.

      12            Q.     Who was the engineer?

      13            A.     Paul Dumas.               Paul Dumas.

      14            Q.     And when he gave you the overview, when

      15       was that?

      16            A.     I cannot remember.

      17            Q.     2017?

      18            A.     No.     It was before that.

      19            Q.     2016?

      20            A.     Probably in 2016.

      21            Q.     Was Colbert still at ---

      22            A.     --- Yes.

      23            Q.     She was?

      24            A.     Uh-huh.

      25            Q.     Was she your manager at the time?

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 51 of 110
           Liliana Camara                     1:18-cv-1046                                        Page 51

       1             A.   Yes.

       2             Q.   Did you discuss this with her?

       3             A.   Yes.

       4             Q.   And did she give you written authority to

       5       do it?

       6             A.   Yes.

       7                  Written?          There was not a lot -- I mean,

       8       we worked a lot like verbal, like this is what we're

       9       going to do.      Okay, this is what we're going to do.

      10       I mean, it wasn't like it was a -- always written --

      11       no.

      12             Q.   Okay, so when Paul Dumas gave the

      13       overview, who was present?

      14             A.   Henri and I.

      15             Q.   And why did you schedule it so that only

      16       you and Henri would be present?

      17             A.   Because we were only -- so what we did was

      18       we asked Tim if he knew of anything.                                        So we said

      19       basically, we need to pick your brain, and that,

      20       here's what we need to do.                       Do you know of anything

      21       that we can use to accomplish this goal.

      22                  Because I remember that the other option

      23       that we talked about was what if we request that the

      24       engineers at Market America will help us build the

      25       actual elements so that the company didn't have to

              *Copy*               Lee v. Market America                                           04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 52 of 110
           Liliana Camara                   1:18-cv-1046                                   Page 52

       1       go pay thousands of dollars for something that was

       2       too big for what we needed.

       3                 And it was an idea that we really liked.

       4       But we also knew that, because of the two big

       5       conferences that we have a year, a lot of the other

       6       projects that are not related to conferences never

       7       actually end up happening.                     So the engineers know

       8       they have to build this for whatever reason.

       9            Q.   Uh-huh.

      10            A.   But the minute they get told to build the

      11       things or work on the things that have to do with

      12       the conferences, everything -- I mean, it could be

      13       years before this got done.                       So we're like that's

      14       probably not a good idea.

      15                 So then he said why don't you guys look at

      16       this tool that we have as a part of Atlassian, which

      17       was a big software package that the company was

      18       paying for.    And Jira was the thing that was being

      19       used by the whole company.                     It was a huge part of

      20       the company.    And then, Confluence was like that

      21       little other thing that nobody uses.

      22                 And he said I think you could use this.

      23       And then he showed us what you could do with it.

      24       And then, Henri and I run with it.                                 We were like, oh

      25       boy, this -- this is it.

              *Copy*             Lee v. Market America                                      04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 53 of 110
           Liliana Camara                       1:18-cv-1046                                 Page 53

       1              Q.    So when did you schedule for Nadine and

       2       Abby to learn how to use Confluence?

       3              A.    With Nadine, we could never schedule how

       4       to use it.     Because she was not -- she said I'm just

       5       not going to do that.

       6              Q.    Okay.      Well, let me ask the question this

       7       way.

       8                    Once you, as the manager, made the

       9       decision to use Confluence, did you set a specific

      10       schedule for your staff to learn how to use it?

      11              A.    So if we're being technical on that

      12       portion, I wasn't Nadine manager when I did that.

      13       Because, remember, she refused to report to me when

      14       I got promoted to training manager.

      15              Q.    Uh-huh.

      16              A.    And so I could schedule things and do

      17       things with Abby and Henri.                           But technically, I

      18       couldn't with Nadine, because at that point she was

      19       still reporting to Colbert.

      20              Q.    So with that thought in mind, then, Nadine

      21       was not insubordinate by not learning Confluence.

      22       Correct?

      23                            MS. DEBOARD:                     Objection to form.         You

      24       can answer.

      25                            THE WITNESS:                     So at that point,

              *Copy*                 Lee v. Market America                                    04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 54 of 110
           Liliana Camara                    1:18-cv-1046                                        Page 54

       1       because she was not reporting to me, no.

       2            Q.   (Ms. Gray)             And did Colbert ever indicate

       3       to you that Nadine was being disciplined for failing

       4       to learn how to use Confluence?

       5            A.   No.

       6            Q.   And how long did you continue to use

       7       Confluence?

       8            A.   For the entire time that I was there, up

       9       until I left.

      10            Q.   And during that period of time, did you

      11       lose -- did the company lose any clients or any

      12       financial revenue as a result of Nadine's failure to

      13       learn Confluence that you're aware of?

      14            A.   I mean, that is something that I cannot --

      15       I don't have the expertise or the knowledge to know

      16       how to do that.

      17                 But, I mean, her input on whatever we

      18       wanted for her to do did not happen.                                       So how do you

      19       account for something that didn't happen?                                       I don't

      20       know how to calculate something like that.

      21            Q.   Right.       And that's my point.                                  Her not

      22       learning how to do it didn't affect you in any way,

      23       did it?

      24            A.   Me personally or the company?

      25            Q.   You.

              *Copy*              Lee v. Market America                                           04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 55 of 110
           Liliana Camara                    1:18-cv-1046                                     Page 55

       1            A.   The way I would say it affected me was

       2       that I was not being able to produce from the

       3       training department what I wanted to produce.

       4                 A cohesive -- like in that particular

       5       example, in that very specific example.                                    I wanted

       6       for that tool to house everything that we were doing

       7       on training.     And that was going to include all of

       8       the content in English, content in Spanish, content

       9       in Mandarin.

      10                 So like right off the bat the Mandarin

      11       content wasn't going to happen because she was not

      12       going to upload it, and she was not going to do it.

      13       So it was going to be incomplete.                                 So I felt like

      14       what I was delivering as a whole department wasn't

      15       happening because of that.                      In that sense, yes.

      16            Q.   And you did what about it?

      17            A.   I did not document it, if that's what

      18       you're asking.     No, I did not.

      19            Q.   What did you do about it?

      20            A.   I would discuss it.

      21            Q.   With whom?

      22            A.   With Nadine, with Colbert and with Sherry.

      23            Q.   And that's it?

      24            A.   Yes.

      25            Q.   Okay.      Going down to paragraph seven, you

              *Copy*              Lee v. Market America                                        04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 56 of 110
           Liliana Camara                    1:18-cv-1046                                     Page 56

       1       said you wanted all corporate trainers to be cross-

       2       trained in all learning programs rather than have

       3       one person solely responsible and capable with the

       4       material.

       5                    Did you see that?

       6               A.   Uh-huh.

       7               Q.   Now, how did you come up with the decision

       8       that you wanted to have the trainers to be cross-

       9       trained?

      10               A.   I think it's more efficient -- for our

      11       case?

      12               Q.   Uh-huh.

      13               A.   It was more efficient to have people to be

      14       able to deliver a training if somebody else wasn't

      15       available, somebody -- you know, if somebody was on

      16       vacation, and this training needed to happen,

      17       somebody else was able to do it.                               And that was one

      18       reason.

      19                    The other reason was because there were so

      20       many things happening in the company all the time.

      21       New programs, new products, new things.                                    And so if

      22       you were not to a degree almost forced to have to

      23       look at that and review that, you became obsolete

      24       pretty quick.

      25                    Like if you did not update and refresh

              *Copy*              Lee v. Market America                                        04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 57 of 110
           Liliana Camara                     1:18-cv-1046                                       Page 57

       1       your knowledge on what was happening, all you knew

       2       was this little part here.                       And I didn't think that

       3       was a good use of our human potential in the

       4       department.

       5            Q.     Who else was able to conduct Mandarin

       6       training?

       7            A.     Nobody.

       8            Q.     Just Nadine.               Correct?

       9            A.     Uh-huh.

      10                          MS. DEBOARD:                     Was that a yes?

      11                          THE WITNESS:                     Yes.           Sorry.

      12            Q.     (Ms. Gray)            You say Nadine objected to

      13       this, claiming that she was the only expert in

      14       certain aspects of the company, and that she would

      15       only allow another trainer to conduct her trainings

      16       every once in a while, as long as she could monitor

      17       the training, and only her materials were used.

      18                   Do you see that?

      19            A.     Uh-huh.

      20            Q.     You agree that Nadine was the only expert

      21       in Mandarin training for the company.                                       Correct?

      22            A.     Yes.

      23            Q.     And up until the time that you came in as

      24       Nadine's manager, Nadine was the one who was

      25       responsible for preparing all of the materials

              *Copy*               Lee v. Market America                                          04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 58 of 110
           Liliana Camara                   1:18-cv-1046                                 Page 58

       1       related to Mandarin training.                          Correct?

       2            A.   Yes.

       3            Q.   All right.            Go down to number eight.                    And

       4       it says in 2017, there were numerous issues with

       5       Nadine's work performance.

       6                 Do you see that?

       7            A.   Uh-huh.

       8            Q.   In February, I explained to her that

       9       despite her refusal to conduct the account services

      10       training, she was going to have to do it since we

      11       had several trainees who needed the training in

      12       Mandarin, and she was the only Mandarin speaker in

      13       the training team.         She reluctantly agreed and

      14       planned to end the class two weeks earlier.

      15       Attendees complained to me that the material was

      16       rushed and incomplete.

      17                 Do you see that?

      18            A.   Uh-huh.

      19            Q.   Who complained to you?

      20            A.   Rose.

      21            Q.   Rose was the only one?

      22            A.   Uh-huh.

      23            Q.   Is that ---

      24            A.   --- Because the others don't speak English

      25       or anything else.        And I don't speak Mandarin.

              *Copy*             Lee v. Market America                                    04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 59 of 110
           Liliana Camara                    1:18-cv-1046                                   Page 59

       1            Q.   So Rose complained to you in English?

       2            A.   Yes.

       3            Q.   And is that the issue that you previously

       4       discussed with me in this deposition about the

       5       concerns you had about the quality of training?

       6            A.   Yes.

       7            Q.   Okay.      Other than Rose, was there anyone

       8       else who complained?

       9            A.   No.

      10            Q.   Ultimately, you agree that the training

      11       was conducted?

      12            A.   It was conducted, yes.

      13            Q.   By Nadine.             Correct?

      14            A.   Yes.

      15            Q.   Okay, and do you know -- I believe you

      16       said that Rose complained to you in English.                                     And

      17       she also complained to Brandi about this.                                  Correct?

      18            A.   Yes.

      19            Q.   Okay, and then, here again, in number

      20       nine, you say Nadine was required to train the third

      21       shift in account services responsibility.                                  The

      22       training would take place outside of MA's standard

      23       operating hours.       Yet Nadine refused to account for

      24       her hours to me.

      25                 Do you see that?

              *Copy*              Lee v. Market America                                         04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 60 of 110
           Liliana Camara                       1:18-cv-1046                                     Page 60

       1               A.      Uh-huh.

       2               Q.      Now, I don't believe you've told me about

       3       that.        You did talk earlier about the third-shift

       4       reps needing training at the Greensboro office, and

       5       they were trained in the conference room.

       6                       Is that what number nine is referencing?

       7               A.      Uh-huh.      Yes.

       8               Q.      Okay, and what were Market America's

       9       standard operating hours?

      10               A.      It was eight to five for the regular

      11       employees.        But we also had a second shift and a

      12       third shift.        But that was specifically for

      13       unfranchised services reps, and a second shift --

      14       yeah, unfran -- that I know of, just for

      15       unfranchised services reps.

      16               Q.      Okay, and then you said Nadine refused to

      17       account for her hours to me.

      18                       What does that mean?

      19               A.      So she would just let me know, I'm going

      20       to be out.        I'm going to be -- I'm not going to be

      21       in tomorrow, or I'm not going to be in.                                       But it was

      22       very difficult to get her to say here are the hours

      23       I'm working on this, and here are the hours I'm

      24       going to take.

      25                       It was -- it was -- so working with Nadine

              *Copy*                 Lee v. Market America                                        04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 61 of 110
           Liliana Camara                   1:18-cv-1046                                      Page 61

       1       was always very frustrating communicating-wise in

       2       terms of she was extremely secretive with what she

       3       did.    And you couldn't ask for too many details

       4       because she would not give them to you.                                    So it would

       5       be just like she will let you know what she was

       6       going to do, period.

       7              Q.   Did you require her to provide you with a

       8       written timesheet?

       9              A.   I think I did at some point.                                  But I don't

      10       remember what the outcome of that was.

      11              Q.   Did you ever write Nadine up for failing

      12       to account for your hours to her?

      13              A.   No.

      14              Q.   Did you warn her that her job was in

      15       jeopardy if she didn't account for her hours to you?

      16              A.   No.

      17              Q.   Now, during this time, was Nadine also

      18       working with her accounts in Malaysia?

      19              A.   I cannot remember now.

      20              Q.   Are you aware that Nadine was still

      21       working with her accounts in Singapore?

      22              A.   I do not remember.

      23              Q.   Well, are you aware that Nadine was still

      24       working with her accounts in Taiwan?

      25              A.   And we're talking about around this

              *Copy*             Lee v. Market America                                         04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 62 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 62

       1       particular time ---

       2            Q.   --- Yes.

       3            A.   --- That her shift was happening?

       4            Q.   Yes.

       5            A.   No, I don't remember.

       6            Q.   Okay.      You do know, and you would agree

       7       with me, that Malaysia, Singapore and Taiwan are on

       8       a different time frame than North Carolina?

       9            A.   Yes.

      10            Q.   Okay, and did you ever ask Nadine if her

      11       responsibilities related to Malaysia, Singapore

      12       and/or Taiwan interfered with her ability to work

      13       with the third shift employees?

      14            A.   Can you repeat that question?

      15            Q.   Did you ever ask Nadine if her

      16       interactions or her work responsibilities related to

      17       Malaysia, Singapore and/or Taiwan interfered with

      18       her ability to work with the third shift employees?

      19            A.   So the -- the way we scheduled our work

      20       wasn't -- how do I put this.                         So if something had to

      21       happen, it would have not been an imposition of I

      22       don't care if you're working 12 -- you know, 24

      23       hours a day.     Never.          Never.

      24                 It was -- even if you go back to the email

      25       that I sent Nadine about training this rep in Spain

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 63 of 110
           Liliana Camara                       1:18-cv-1046                                 Page 63

       1       in Mandarin, I specifically asked is this something

       2       you can put in your schedule.                              So there was always

       3       that.        What are you working on?                           Is this feasible?

       4       Can you do this.           And this happened with all of us.

       5                       And like if there was something that I

       6       needed to do, and it was conflicting with something

       7       else that I was doing, I would adjust or ask

       8       somebody else for help.                     And that's why the teamwork

       9       thing was so important to me.                              Because this was a

      10       moving target.

      11                       This job was always, like -- new programs

      12       will come up here.             New requests will come up here.

      13       New hires will come up here.                            So we will always have

      14       to be juggling.         Who's doing what, who can do this,

      15       can you do this because I'm working on this.                                  And

      16       so, it was never something like, I'm going to impose

      17       or make you work 20 hours a day.                                  No.

      18               Q.      So I'm not sure if that answers the

      19       question that I asked you.

      20                       But it sounds like what you're saying is

      21       that you would take into consideration Nadine's

      22       other schedule ---

      23               A.      --- Yes.

      24               Q.      --- As it pertained to what she might be

      25       doing with her overseas clients in the context of

              *Copy*                 Lee v. Market America                                    04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 64 of 110
           Liliana Camara                      1:18-cv-1046                                  Page 64

       1       her ability to do something here in the U.S.                                  Right?

       2            A.     Yes.

       3                   And I also knew that she would be in

       4       charge of making sure she wasn't, you know, working

       5       more hours than she needed to.                              Because, again, it

       6       was very difficult to get an answer of what are you

       7       doing, what are you working on.                                She was very

       8       secretive with what she did.

       9            Q.     And when you say she was secretive, did

      10       she ever refuse to provide you with any written

      11       documentation to verify her schedule?

      12            A.     So my sense like my initial reaction to

      13       that is yes.       I cannot tell you exactly, oh, I

      14       remember sending her this email asking for this.                                  I

      15       can't remember.        But it was -- I wasn't going to get

      16       anything out of her.

      17            Q.     Well, I mean, when you say that you

      18       weren't going to get anything out of her, were you

      19       responsible -- you've said you weren't responsible

      20       for scheduling her -- her training sessions

      21       overseas.    Correct?

      22            A.     No.     Because all of the trainers will

      23       schedule their own trainings.

      24            Q.     So when you say she was being secretive,

      25       is it that she just normally scheduled her own

              *Copy*                Lee v. Market America                                     04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 65 of 110
           Liliana Camara                    1:18-cv-1046                                        Page 65

       1       trainings and just that -- that was her policy, and

       2       that had been Market America's policy all the time

       3       that she had been working in that position?

       4            A.     But we always discussed what we were

       5       doing.    We always talked about the things that we

       6       were doing.     And Nadine wouldn't.

       7            Q.     Well, you never reprimanded her for not

       8       providing you with information pertaining to her

       9       schedule.     Correct?

      10            A.     Correct.

      11            Q.     And so she had to deal with overseas

      12       markets in Malaysia, Singapore and Taiwan.                                    Correct?

      13            A.     Correct.

      14            Q.     You don't speak Mandarin.                                  Correct?

      15            A.     Correct.

      16            Q.     And you were feeling that she was being

      17       secretive about something, but yet, you weren't

      18       telling her this, and you weren't reprimanding her

      19       for this.     Correct?

      20            A.     Correct.

      21            Q.     All right.           Let's go to paragraph 11.

      22                         MS. DEBOARD:                     Is now a good time to

      23       take a quick bathroom break?

      24                         MS. GRAY:                Yes, ma'am.

      25            (11:20-11:24 a.m. - recess)

              *Copy*              Lee v. Market America                                           04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 66 of 110
           Liliana Camara                     1:18-cv-1046                                     Page 66

       1            Q.    (Ms. Gray)             Okay.             Now, before we stopped,

       2       we were talking about paragraph number 11 on your

       3       declaration.   And you said simply stated, Nadine did

       4       not accept the new vision of the corporate training

       5       group.

       6                  Do you see that?

       7            A.    Uh-huh.

       8            Q.    Did you ever document, in terms of an

       9       email to your staff or any type of a newsletter or

      10       an announcement, what your new vision was for

      11       corporate training -- for the corporate training

      12       group?

      13            A.    Written?          No, that I remember.

      14            Q.    Right.

      15                  So any announcement that you would have

      16       made did not come in the form of something written

      17       that would have been disseminated throughout the

      18       company.   Is that correct?

      19            A.    Correct.

      20            Q.    So then, the only evidence you have of

      21       what your new vision for the corporate training

      22       group was would have been a verbal announcement or a

      23       statement to the members of that staff.                                     Correct?

      24            A.    Correct.

      25            Q.    Did you collectively meet as a group

              *Copy*               Lee v. Market America                                        04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 67 of 110
           Liliana Camara                   1:18-cv-1046                                     Page 67

       1       together at once to talk about your new group

       2       vision?

       3            A.   Yes.

       4            Q.   When was that?

       5            A.   When we talked about it, when we -- when

       6       Colbert left.    We had two meetings.                                 We had one

       7       meeting as a team.         I mean -- team, I mean Nadine,

       8       Cherri, Henri, Abby and myself.

       9                 And then, we had basically the same

      10       meeting with Sherry.            Because Sherry wanted to get

      11       more acquainted with what the training department

      12       was doing since Colbert never really got replaced in

      13       terms of -- because Colbert used to report to Mark.

      14                 And so, when I -- this was -- so after

      15       Colbert left, I was going to be promoted as managing

      16       the department, but reporting to Sherry.                                   So it was

      17       almost like Sherry was going to be the new Colbert,

      18       but Sherry didn't know what Colbert did or didn't

      19       do, a lot of what Colbert did.                           So she needed to

      20       know exactly what we were all working on and were

      21       going to do.

      22                 So we had that second meeting, and we

      23       basically went over the same thing that we had

      24       already discussed without Sherry.

      25            Q.   Are you aware that there was a job

              *Copy*             Lee v. Market America                                        04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 68 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 68

       1       responsibilities meeting in September of 2016?

       2                   And that was the one that was held by

       3       Colbert.

       4            A.     2016?      Yeah.            I mean, we had several

       5       meetings.    I cannot say that I remember that one

       6       specifically.

       7            Q.     But was that the meeting where Colbert

       8       talked about what she did and what the transition

       9       was going to look like with her being gone?

      10            A.     September of 2016?

      11            Q.     Yes.

      12            A.     But she left in ---

      13            Q.     --- November.

      14            A.     Oh.     So yes.             So then, there must have

      15       been one before she left, yes.

      16            Q.     And then, was there also a meeting in

      17       January of 2017 where Sherry was present?

      18            A.     Yes.

      19            Q.     And during that meeting, isn't it true

      20       that you all discussed the job responsibilities for

      21       the individuals in the corporate training group?

      22            A.     Yes.

      23            Q.     And do you have a recollection of what job

      24       responsibilities were assigned to Nadine?

      25            A.     So yes.         Basically the same -- the same

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 69 of 110
           Liliana Camara                    1:18-cv-1046                                     Page 69

       1       that we have been doing -- it was almost like

       2       nothing big changed after Colbert left in terms of

       3       what we were doing, the way we were operating.

       4       Right.

       5                 So Nadine was going to be in charge of

       6       anything that had to do with Mandarin or Asian

       7       country markets.       And whatever else she was doing

       8       before, it was going to continue to be the same,

       9       with one exception probably.                         Well, two exceptions.

      10       The new -- sort of new thing, that was Confluence.

      11       That was going to be something that was not

      12       happening before.

      13                 And then, I also had a suggestion, and

      14       that's what -- maybe point seven -- where there was

      15       training, the MPCP training that was done for new

      16       hires in the company in general.                               That was in a

      17       training that was a big, huge spider web the

      18       training department did in general.                                    Because, again,

      19       the bulk of it was unfranchise services, the reps.

      20                 But we did need for the whole company, our

      21       employees, to know high-level idea of what the

      22       company was about.          And so Nadine was in charge of

      23       doing that training solely before, entirely.                                    That

      24       was her training.

      25                 And I saw an opportunity for growth for

              *Copy*              Lee v. Market America                                        04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 70 of 110
           Liliana Camara                    1:18-cv-1046                                  Page 70

       1       all of us, actually, in the department to deliver

       2       that training.     So that was the only suggestion.                               So

       3       other than Confluence and that change, nothing else

       4       changed.

       5            Q.    Okay.     Now, let me ask you about the

       6       cross-training.      What was the ultimate result of

       7       your cross-training vision within the department?

       8            A.    So a couple of things.                              So what I talked

       9       about before, where if somebody was caught up with a

      10       project and that training needed to happen, other

      11       people could do it.            That was one.

      12                  With the MPCP, specifically -- so the

      13       company, as I've mentioned before, has two big

      14       conferences a year.            And there's a lot of prepping

      15       that goes on that.          It's about, I don't know, two or

      16       three months before those conferences, a lot of

      17       people put aside whatever they're doing, and they

      18       only work on those things.

      19                  So in training we have to at the same time

      20       be prepared to deliver trainings for those new

      21       programs as soon as they came up.                                 And so for us to

      22       be able to get screenshots or material on what those

      23       programs were, because they were happening so

      24       quickly, it was better to have connections in the

      25       company to know who does what.

              *Copy*              Lee v. Market America                                     04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 71 of 110
           Liliana Camara                  1:18-cv-1046                                          Page 71

       1                 It's not the same -- like if you send an

       2       email to a graphic designer, saying I'm so-and-so

       3       from the training department, and I need these

       4       screenshots for a training.                      They were almost

       5       excused to not respond to you if they were working

       6       on conference stuff.           And conference stuff was what

       7       we needed to be training on, as well.                                    Right?

       8                 So different than -- I was training, I

       9       kind of sort of have a personal, you know,

      10       connection with you, and that you and I -- it was

      11       700 people, about 700 people in that building.                                      So

      12       you could go for years without knowing who was next

      13       to you.

      14                 And so if we were able to develop that

      15       network and those connections, I thought that in the

      16       training department we were going to be more

      17       efficient at producing material.                             And so that was a

      18       golden opportunity.

      19            Q.   Uh-huh.

      20            A.   It was a laid-back training in the sense

      21       that if you help deliver the unfranchise services

      22       training to the unfranchise services reps, you are

      23       pretty much qualified to do this other training for

      24       sure, because this other training wasn't even 10

      25       percent of what this other big training was.

              *Copy*            Lee v. Market America                                             04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 72 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 72

       1            Q.    Well, when you talk about the conferences,

       2       and I think you said you all had two major

       3       conferences?

       4            A.    Uh-huh.

       5            Q.    Was one of them the International

       6       Convention?

       7            A.    Yes.

       8            Q.    And did Ms. Lee participate in the

       9       International Convention in 2017 to your knowledge?

      10            A.    Yeah.     I think we all did, yes.

      11            Q.    Uh-huh.        And are you aware that she

      12       received a letter from Brandi Quinn which commended

      13       her for an outstanding job at the 2017 International

      14       Convention?

      15            A.    I think that was a letter that was sent to

      16       all of the people that participated in that.

      17            Q.    And that would have included Nadine.

      18       Correct?

      19            A.    Yes.

      20            Q.    Okay, so according to Brandi Quinn, the

      21       efforts that Nadine made caused the convention to

      22       run smoothly and was considered a huge success.                               Are

      23       you aware of that?

      24            A.    Yes.    You're talking about the letter that

      25       every single person that worked in the convention

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 73 of 110
           Liliana Camara                      1:18-cv-1046                                       Page 73

       1       received.

       2            Q.     I don't know if ---

       3            A.     --- If three hundred people went to the

       4       convention, 300 people received the exact same

       5       letter.

       6            Q.     Okay.      Let me show you what I'm talking

       7       about.

       8                           MS. GRAY:                And I'll just tell you for

       9       purposes of today's deposition, this document is

      10       marked as Market America 280.                             Okay?

      11                   I can show it to her on my computer, but

      12       just so you can have it.

      13                           MS. DEBOARD:                     Let me see if I can

      14       pull this up here.

      15                           MS. GRAY:                Can you see what I'm

      16       showing you?

      17                           THE WITNESS:                     Oh, yes.                That was a

      18       letter that everybody received.                                All of us that

      19       participated, yes.

      20            Q.     (Ms. Gray)             Okay, and would you agree with

      21       me that this letter is specifically written to

      22       Nadine?

      23            A.     Yes.

      24            Q.     Okay.      It doesn't say to every one of you

      25       all that participated.                  It specifically is directed

              *Copy*                Lee v. Market America                                          04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 74 of 110
           Liliana Camara                     1:18-cv-1046                                    Page 74

       1       to Nadine.     Correct?

       2            A.      Yes.   The content -- the body of the

       3       letter was the same for all of the employees.                                    The

       4       name will change to each employee, yes.

       5            Q.      Well, regardless of how many other people

       6       got this letter, you agree that Nadine received the

       7       letter?

       8            A.      Of course.           Yes.

       9            Q.      And it was for her outstanding job.

      10       Correct?

      11            A.      Correct.

      12            Q.      So regardless of whatever complaints you

      13       have about what Nadine did or didn't do, at least

      14       Brandi thought in 2017 that Nadine had done an

      15       outstanding job with regard to the 2017

      16       International Convention?

      17            A.      Yes.

      18            Q.      And are you aware of any document that

      19       Nadine received that was contrary to this?

      20            A.      No.

      21            Q.      All right.           At some point, you have said

      22       that the only complaints you received regarding

      23       Nadine's job performance were from Rose.                                    Correct?

      24            A.      On that particular training, yes.

      25            Q.      Well, did you receive any other emails

              *Copy*               Lee v. Market America                                       04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 75 of 110
           Liliana Camara                     1:18-cv-1046                                  Page 75

       1       from anybody complaining about Nadine's job

       2       performance?

       3            A.    From -- at the time -- what was her name?

       4       Two managers of the unfranchise services department

       5       would complain to me that ---

       6            Q.    --- Let me just stop you for one second

       7       before you answer.

       8                  My question is specifically about an email

       9       from these individuals.                   I'm not talking about a

      10       verbal complaint.

      11            A.    No.

      12            Q.    So do you have any written complaints,

      13       i.e., emails, newsletter, memo, anything of that

      14       nature from anyone who complained about Nadine's job

      15       performance?

      16            A.    Written emails, no.

      17            Q.    All right.             Let's talk about Nadine's

      18       termination.      Now, according to the documentation

      19       that I have, Nadine was terminated by you.                                  Is that

      20       correct?

      21            A.    Correct.

      22            Q.    Was anyone else involved in the decision

      23       to terminate Nadine?

      24            A.    Yes.

      25            Q.    And who was that?

              *Copy*               Lee v. Market America                                     04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 76 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 76

       1               A.   Sherry Spesock.

       2               Q.   Anyone other than Sherry?

       3               A.   We also had Brandi Foster in a couple of

       4       meetings to discuss this, yes.

       5               Q.   When you say to discuss this, what do you

       6       mean?

       7               A.   To discuss our concern that this is our

       8       main client in the training department was

       9       unfranchise services.                 And the director of

      10       unfranchise services was the first person that

      11       received the complaint, or the comment that the

      12       training that was happening for the third-shift

      13       employees was not being complete.

      14                    She was worried that future trainings --

      15       or the department was going to be affected by the

      16       lack of quality in future trainings in Mandarin.

      17               Q.   Okay, and this is back to the statements

      18       that you told me about between Rose and Brandi.

      19       Correct?

      20               A.   Correct.

      21               Q.   Okay.     I'm not interested in that.

      22                    What I'm interested in is who all made the

      23       decision to terminate Nadine?

      24               A.   Sherry and I.

      25               Q.   That's it?

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 77 of 110
           Liliana Camara                     1:18-cv-1046                                  Page 77

       1            A.     Yes.

       2            Q.     Just you and Sherry?

       3            A.     Uh-huh.

       4            Q.     And did you go to Sherry and tell her that

       5       you were planning to terminate Nadine?

       6            A.     No.    I think this was a decision that both

       7       of us ended up concluding at the end of a meeting.

       8            Q.     When was that meeting?

       9            A.     I cannot remember that.                                It wasn't too far

      10       from the actual termination date.

      11            Q.     So did you go to Sherry and say you're

      12       thinking about terminating Nadine, or was it vice

      13       versa, or how did it -- how did this meeting come

      14       about?

      15            A.     We had several -- Sherry and I had several

      16       conversations about the concerns we had with

      17       Nadine's attitude.           And given that it had been so

      18       consistent, and given that she had refused or

      19       challenged the authority of her last three managers,

      20       myself included, we concluded that it was in the --

      21       the best interest for the company was to not have

      22       Nadine in the team.

      23            Q.     Okay, and you and Sherry made that

      24       decision?

      25            A.     Yes.

              *Copy*               Lee v. Market America                                     04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 78 of 110
           Liliana Camara                        1:18-cv-1046                                       Page 78

       1               Q.    And who communicated the decision to

       2       Nadine?

       3               A.    I did.

       4               Q.    How did you do that?

       5               A.    In a meeting at Sherry's office.

       6               Q.    Okay.      How did you set the meeting up?

       7               A.    I was in Sherry's office, and Sherry

       8       called Nadine at her cubicle and asked her to come

       9       to the office.

      10               Q.    And once she came to the office, what was

      11       said?

      12               A.    I don't remember exactly.                                    But I

      13       communicated to Nadine that we have reached the

      14       decision to let her go because of issues with her

      15       performance.

      16               Q.    Issues with her performance?                                     Job

      17       performance?

      18               A.    Yes.

      19               Q.    And that's what you told her?

      20               A.    Well, so my -- the core of my argument was

      21       that Nadine was not being a team player, basically.

      22       That we were having a lot of trouble getting her to

      23       work as a part of the team.                            That she was just doing

      24       whatever she decided she was going to do, and that

      25       was it.      And that we could not continue to operate

              *Copy*                  Lee v. Market America                                          04/27/21
                                      Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 79 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 79

       1       the team -- the training team under those

       2       circumstances.

       3              Q.    Okay.     Now, I asked you earlier if you had

       4       given Nadine any verbal warnings about her job

       5       performance.       And I believe your answer was no.                            Is

       6       that correct?

       7              A.    Uh-huh.        Correct.

       8              Q.    Okay.     Are you aware that the company has

       9       an employee handbook that contains policies related

      10       to various aspects of the job, including policies

      11       that pertain to disciplining an employee other than

      12       dismissal?

      13              A.    No.

      14              Q.    You never knew about these policies?

      15              A.    I don't remember reviewing them, no.

      16              Q.    Did you have any training on the policies?

      17              A.    I received a handbook, and I should have

      18       read as much as I could when I was first hired.                                 But

      19       that was it.

      20              Q.    Okay.     I have been provided documents by

      21       the company that are Bates stamped MA725 through

      22       740.    And these are the employee policies that I'm

      23       referring to.

      24                    And according to their employee policies,

      25       verbal warnings, although they are verbal in nature,

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 80 of 110
           Liliana Camara                   1:18-cv-1046                                      Page 80

       1       the manager is required to document and date the

       2       content of any discussions that that manager had

       3       with an employee regarding to, you know, performance

       4       issues.

       5                 Are you aware of that policy?

       6            A.   No.

       7            Q.   Okay, and even if you were aware of that

       8       policy, you would agree, that would not have come

       9       into play in this particular instance, because you

      10       never gave Nadine any verbal warnings.                                    Correct?

      11            A.   Correct.

      12            Q.   Okay, and then, the company has what they

      13       call a written warning policy.                           And the written

      14       warning policy indicates that a written warning is

      15       presented to the employee by the manager, and it is

      16       intended to clearly identify the specific conduct or

      17       performance for the reason for a warning.                                    And to

      18       tell specific performance or conduct improvements

      19       that must be made.         Okay?

      20            A.   Okay.

      21            Q.   Are you aware that that was a policy?

      22            A.   No.

      23            Q.   And you agree with me, as you sit here

      24       today, that you never provided such a written

      25       warning to Nadine.         Correct?

              *Copy*             Lee v. Market America                                         04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 81 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 81

       1               A.   Correct.

       2               Q.   And to your knowledge, Sherry never

       3       provided any type of written warning to Nadine.

       4       Correct?

       5               A.   Correct.

       6               Q.   And as you sit here today, you would agree

       7       with me that you've never produced any such a

       8       writing that would have been included in Nadine's

       9       personnel file.        Correct?

      10               A.   Correct.

      11               Q.   And to your knowledge, did Sherry ever

      12       produce any written warning that would have been

      13       included in Nadine's personnel file?

      14               A.   Not that I know of.

      15               Q.   At the time that you terminated Nadine,

      16       you indicated that you replaced her with Rose.                               Is

      17       that true?

      18               A.   Uh-huh.

      19                         MS. DEBOARD:                     Is that a yes?

      20                         THE WITNESS:                     Yes.

      21               Q.   (Ms. Gray)          Why did you replace her with

      22       Rose?

      23               A.   So during Rose's training -- so first of

      24       all, Rose was bilingual.                   And finding a Mandarin and

      25       English combination of bilingual person around here

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 82 of 110
           Liliana Camara                    1:18-cv-1046                                    Page 82

       1       is not that easy.         That was a huge advantage.

       2                    And during Rose's training, she displayed

       3       a great amount of work ethic, interest in the job,

       4       interest in learning.               In fact, she asked -- we

       5       never asked her to attend meetings, training,

       6       because she was having that training in English.                                      So

       7       we didn't deem it necessary.

       8                    But she asked Brandi for permission to

       9       attend that training so she could get more of what

      10       she was already being trained on, right.                                   The more

      11       exposure, the more she could learn.

      12                    And then, when she was attending that

      13       training, she realized, oh, they're reviewing

      14       material that has screenshots that are not updated.

      15       Some of the things that are being said here conflict

      16       with the other thing that I'm learning in that

      17       training.

      18                    And so she displayed a great interest in

      19       properly learning the job duties and being

      20       proactive.

      21            Q.      Okay, so at the time that Nadine was

      22       terminated, her title was global training projects

      23       manager.     Correct?

      24            A.      Correct.

      25            Q.      And are you telling me that you hired Rose

              *Copy*              Lee v. Market America                                       04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 83 of 110
           Liliana Camara                  1:18-cv-1046                                       Page 83

       1       to a management position to take Nadine's place?

       2            A.   So Rose was not going to take the complete

       3       -- so Rose was not going to take the complete

       4       portfolio of what Nadine was doing.                                  It was going to

       5       be mainly -- and Nadine had experience -- I mean,

       6       Rose had experience as an instructor.                                    I believe she

       7       had been -- she had had a teaching position in

       8       China, if I remember correctly.                            So she was trained

       9       as a trainer.

      10                 And so she was not going to take -- at

      11       least to begin with, it was not going to be one

      12       hundred percent of what Nadine did.

      13            Q.   So you agree with me that Rose was not

      14       hired to take Nadine's position as the global

      15       training projects manager?

      16                       MS. DEBOARD:                     Objection to form.

      17            Q.   (Ms. Gray)           Correct?

      18                       MS. DEBOARD:                     Objection to form.                You

      19       can answer.

      20                       THE WITNESS:                     She was not given the

      21       exact same title, no.

      22            Q.   (Ms. Gray)           And you would agree with me

      23       that the training Rose received prior to taking

      24       Nadine's job was training that she received from

      25       Nadine?

              *Copy*            Lee v. Market America                                          04/27/21
                                Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 84 of 110
           Liliana Camara                    1:18-cv-1046                                        Page 84

       1            A.      Not only from Nadine, no.                                 That was a

       2       small part of it.

       3            Q.      Who else trained her?

       4            A.      Henri and I.

       5            Q.      You didn't train her in any of the global

       6       aspects of teaching Mandarin in Malaysia, Singapore,

       7       Taiwan ---

       8            A.      --- No.

       9            Q.      --- Any of that aspect.                              Correct?

      10            A.      Correct.

      11            Q.      Henri didn't do that either, did he?

      12            A.      No.

      13            Q.      So the only training that included

      14       bilingual training, with English and Mandarin being

      15       the two languages, that Rose would have received

      16       would have had to come from Nadine.                                    Correct?

      17            A.      Correct.

      18            Q.      Did you make the decision to place anyone

      19       else in Nadine's position, i.e., in terms of the job

      20       responsibilities, besides Rose?

      21            A.      I'm not following the question.                                 What do

      22       you mean?

      23            Q.      Well, because you said in your affidavit

      24       that when you terminated Nadine, you hired Rose --

      25       you replaced her with Rose.

              *Copy*              Lee v. Market America                                           04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 85 of 110
           Liliana Camara                      1:18-cv-1046                                  Page 85

       1            A.     Uh-huh.

       2            Q.     But you have admitted that you didn't

       3       replace the entire position, you just replaced the

       4       Mandarin-speaking portion of the position with Rose.

       5       Correct?

       6            A.     Correct.

       7            Q.     So who made the decision to have any of

       8       Nadine's other job responsibilities performed?

       9            A.     Oh.     So we were going to rotate -- so say,

      10       for example -- well, first of all, a huge portion of

      11       what we

      12       needed to be done was Confluence.                                   So we were going

      13       to do it among Henri, Abby and myself and Rose,

      14       because Rose was on board with working with

      15       Confluence.       So that was going to be Colbert.                              And

      16       then, say, for example ---

      17            Q.     --- Wait.            Wait.            And who made that

      18       decision?     That's my question.

      19                   Who made the decision about how ---

      20            A.     --- Oh.         Me.         Sorry.              Me.

      21            Q.     Did you make the decision about how Rose

      22       -- I'm sorry, Nadine's job was going to be divided

      23       up within the responsibilities for each team member

      24       that you had?

      25            A.     Yes.

              *Copy*                Lee v. Market America                                     04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 86 of 110
           Liliana Camara                    1:18-cv-1046                                      Page 86

       1            Q.     Just you made that decision.                                   Correct?

       2            A.     Yes.

       3            Q.     What portion of Nadine's job was assigned

       4       to Rose?

       5            A.     I would say -- so it gets tricky because

       6       since Nadine was refusing to work on Confluence, I

       7       cannot count that as part of her job, because she

       8       wasn't doing it.

       9                   But from what she was doing, I would say

      10       70 to 80 percent what got transferred to Rose.

      11            Q.     Seventy to 80 percent of what Nadine had

      12       been doing was transferred to Rose?

      13            A.     Uh-huh.       Yes.

      14            Q.     Are you sure about that?

      15            A.     From the recollection I have today, yes.

      16            Q.     Did you interview anyone for -- to take

      17       Nadine's position?

      18            A.     We interviewed Rose.

      19            Q.     When you say we, who do you mean?

      20            A.     Brandi, Sherry and I.

      21            Q.     Was the position posted?

      22            A.     I do not remember.

      23            Q.     Did you receive applications for the

      24       position?

      25            A.     I don't remember.

              *Copy*              Lee v. Market America                                         04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 87 of 110
           Liliana Camara                     1:18-cv-1046                                 Page 87

       1            Q.     Did you have a job description for the

       2       position?

       3            A.     Yes.

       4            Q.     All right.            Now, let's talk about Rose's

       5       qualifications.

       6                   Did you review Rose's application before

       7       you offered her the job to take Nadine's place?

       8            A.     I believe so.

       9                          MS. GRAY:                Let's just, for the

      10       record, reflect that Rose's job application has been

      11       submitted by defense counsel, and it is marked Bates

      12       stamps MA006, MA007.              And it is marked as a

      13       confidential document.

      14                          And just for the record, do you have

      15       any concerns, Ms. Deboard, regarding me asking

      16       questions about this application?

      17                          MS. DEBOARD:                     No.         We can mark this

      18       portion confidential.                But if we need to waive it,

      19       we can.

      20                          MS. GRAY:                Okay.

      21                          MS. DEBOARD:                     To a later date.

      22                          MS. GRAY:                Okay.

      23                     CONFIDENTIAL PORTION BEGINS

      24

      25

              *Copy*               Lee v. Market America                                    04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 88 of 110
           Liliana Camara                      1:18-cv-1046                                 Page 88

       1         Q.(Ms. Gray)       Now, as you sit here today, you're

       2           saying you're not sure if you saw Rose's job

       3          application, correct, before you gave her the

       4          position of global training projects manager?

       5               A.   I don't remember.

       6               Q.   Okay.     I'm going to let you take a minute

       7       to look at it.

       8               A.   Okay.

       9               Q.   I'm going to show it to you on my

      10       computer.

      11               A.   Uh-huh.

      12               Q.   And maybe that will refresh your

      13       recollection as to whether you've seen it or not.

      14       Okay?

      15                    That's where it starts.                                Okay?

      16               A.   Okay.

      17               Q.   So you can tell me to slow down if you

      18       need me to.

      19                    Do you need me to slow down?

      20               A.   Uh-huh.

      21               (Witness examined document)

      22               A.   Could you go back to the work history?

      23               Q.   Okay.

      24               A.   I don't remember.

      25               Q.   You don't remember if you saw that

              *Copy*                Lee v. Market America                                    04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 89 of 110
           Liliana Camara                         1:18-cv-1046                                     Page 89

       1       application?

       2               A.      Uh-huh.

       3               Q.      So at the time that you made the decision

       4       to hire Rose in the position, what did you know

       5       about her job performance or her background, other

       6       than what you saw in terms of her working under your

       7       supervision?

       8               A.      She had experience in instruction,

       9       teaching ---

      10               Q.      --- You saw her -- you saw this.                                   Is that

      11       what you're saying?

      12                       You observed her having ---

      13               A.      --- No.        From her background.

      14               Q.      Okay.     Listen to my question.                                All right?

      15                       You said you don't recall if you saw the

      16       application before you hired her.                                      Correct?

      17               A.      Correct.

      18               Q.      So let's talk about the things you do

      19       know.        And that is in terms of what you observed

      20       from Rose.

      21               A.      Yes.    In terms of what I observed from

      22       Rose was her work ethic, her way of being super

      23       proactive to learn more things, to make sure that

      24       she understood entirely what she's supposed -- she

      25       was supposed to know, to go above and beyond what

              *Copy*                   Lee v. Market America                                        04/27/21
                                       Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 90 of 110
           Liliana Camara                    1:18-cv-1046                                       Page 90

       1       she was asked.

       2                 And I did talk to her at some point about

       3       her teaching experience.                   So I knew that.                     And she

       4       did share with me something that I don't see listed

       5       there, which was teaching in China.                                    So I don't know

       6       if I saw that in there or not.

       7            Q.   Uh-huh.

       8            A.   But we did talk about that.                                      So I knew she

       9       had that experience.

      10            Q.   Okay.      Anything else?

      11            A.   No.

      12            Q.   Now, this job application that Rose

      13       submitted to Market America was for a position that

      14       she was applying for called the unfranchised

      15       services representative.                   Are you aware of that?

      16            A.   That ---

      17            Q.   --- Yes.

      18            A.   --- Application?

      19            Q.   Yes.

      20            A.   Oh.     No, that -- I mean, I didn't know

      21       that was the application for unfranchise services.

      22            Q.   Are you aware that that was the position

      23       she applied for when she started, first started ---

      24            A.   --- When she started, yes.

      25            Q.   --- At Market America?

              *Copy*              Lee v. Market America                                          04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 91 of 110
           Liliana Camara                     1:18-cv-1046                                       Page 91

       1            A.     Yes.

       2            Q.     Did you interview her for the position of

       3       unfranchise services representative?

       4            A.     Yes.

       5            Q.     You did?

       6                   According to her application, she

       7       submitted this application on ---

       8            A.     --- Oh, for unfranchise services?                                     I'm

       9       sorry.    I'm confused.

      10                          MS. DEBOARD:                     Hold on.                Let her

      11       finish her question.

      12                          THE WITNESS:                     Sorry.              Yes.

      13            Q.     (Ms. Gray)            According to the application

      14       that Rose initially submitted to Market America, it

      15       was for the position of unfranchise services

      16       representative, and it is dated December 27th,2016.

      17                   Would you have interviewed her for that

      18       position?

      19            A.     Oh, no.        No.

      20            Q.     Did you have anything to do with Rose's

      21       initial hire at Market America?

      22            A.     No.

      23            Q.     Okay, so if Rose didn't interview with you

      24       for the position of unfranchise services

      25       representative, it's highly unlikely that you would

              *Copy*               Lee v. Market America                                             04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 92 of 110
           Liliana Camara                    1:18-cv-1046                                    Page 92

       1       have ever seen her original application.                                   Is that

       2       correct?

       3            A.    Correct.

       4            Q.    Okay.     Now, according to Rose's original

       5       application, she has indicated that she was working

       6       for the Kernersville Sister City Association, and

       7       that her job was to help Kernersville establish and

       8       maintain various sister city relationships with

       9       towns and cities across -- around the world.

      10                  Did you know that?

      11            A.    No.

      12            Q.    She also indicated that from August of

      13       2014 to July of 2016, she had been employed by the

      14       North Carolina Leadership Academy as a Chinese

      15       teacher.   Okay, and she indicated that her job

      16       responsibilities in that regard was teaching Chinese

      17       for the students from K through 11 grades.                                   And that

      18       she worked in that capacity on a part-time basis.

      19                  Do you see that on her application now?

      20            A.    Yes.

      21            Q.    Is that the teaching that she told you

      22       about?

      23            A.    Yes.

      24            Q.    Did she tell ---

      25            A.    --- And I remember something else in

              *Copy*              Lee v. Market America                                       04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 93 of 110
           Liliana Camara                    1:18-cv-1046                                    Page 93

       1       China.    Because this is here in the U.S.                                 And she

       2       talked about something else in China.

       3            Q.     Well, as you can see from looking at this

       4       application, she talks about her employment from

       5       2000, October of 2000 through the date of this

       6       application, which is December 27th, 2016.                                   Okay?

       7                   Do you see anything on that application

       8       about her teaching in China?

       9            A.     No.

      10            Q.     And she indicated that from August 2011

      11       through May of 2014, she had worked for Sunshine

      12       Styles & More, which was a boutique, and that she

      13       was the owner of this boutique, and she was self-

      14       employed as the owner of this boutique.

      15                   Do you see that?

      16            A.     Uh-huh.       Yes.

      17            Q.     And then, prior to that, she said she

      18       worked 2005 to 2009 at the China Rose Restaurant,

      19       where she was the manager and owner, that her father

      20       basically owned.

      21                   Do you see that?

      22            A.     Yes.

      23            Q.     She did that from 2005 to 2009.                                 Then, if

      24       you go over to the next page, under skills and

      25       qualifications, she says I have worked as a cashier,

              *Copy*              Lee v. Market America                                       04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 94 of 110
           Liliana Camara                   1:18-cv-1046                                  Page 94

       1       waitress, retail sale associate, retail store

       2       manager and restaurant manager.                             I have great

       3       customer service skills, and I am a fast learner.

       4                  Do you see that?

       5            A.    Yes.

       6            Q.    Based on what she has in this application,

       7       do you think she was qualified for a position at

       8       Market America as a global training projects

       9       manager?

      10            A.    Based on what it says in that application,

      11       without taking into account, seeing her performance

      12       during training and other things that was displayed,

      13       I cannot tell.

      14            Q.    You can't tell?

      15            A.    (Witness indicated negatively.)

      16            Q.    Well, did you ever look at the global

      17       training projects manager job description?

      18            A.    I know what it was, yes.

      19            Q.    Based on this application from Rose, do

      20       you think she was qualified to work at Market

      21       America as a global training projects manager?

      22            A.    No.

      23                     END OF CONFIDENTIAL PORTION

      24

      25

              *Copy*             Lee v. Market America                                     04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 95 of 110
           Liliana Camara                    1:18-cv-1046                                 Page 95

       1        Q.Okay.     Now, let's go to -- according to Nadine,

       2        you made a comment to her that indicated that you

       3       felt there were cultural differences between you and

       4                                              her.

       5                  Do you recall making such a comment?

       6            A.    I mean, in what context?

       7            Q.    According to Nadine, you indicated that

       8       part of the possible communication skills that you

       9       all were having were related to some type of

      10       cultural differences between the two of you.                               And

      11       the comment was made during a meeting in December of

      12       2016, according to Nadine.

      13            A.    No.    I had a meeting with Nadine in

      14       December which, in my opinion, was an extremely

      15       successful meeting where what I recall from that

      16       meeting was making sure to express to Nadine that my

      17       main goal was for us to work as a team, peacefully

      18       and gracefully.

      19                  And I felt like that was the only meeting

      20       that Nadine and I had that we successfully

      21       communicated and agreed that we wanted a good work

      22       environment.

      23                  If I remember correctly, I'm pretty sure

      24       Nadine offered to give me a hug at the end of the

      25       meeting.   And I thought that was the biggest win

              *Copy*              Lee v. Market America                                    04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 96 of 110
           Liliana Camara                       1:18-cv-1046                                    Page 96

       1       ever.        Because Nadine -- I don't recall Nadine being

       2       the hug kind of person.                     You know, she's very to

       3       herself.        And so when I get a hug from someone that

       4       I have had, you know, all of this history, I feel

       5       like it's a win.

       6                       So if that's the meeting you're talking

       7       about?

       8               Q.      In that meeting, did you discuss what

       9       you're talking about now as a cultural difference

      10       between you and Nadine?

      11                       For example, you say she didn't hug and

      12       you accepted, I guess, her affection as a win for

      13       you.

      14                       Was that in the context that you made the

      15       comments about cultural differences?

      16               A.      No, I don't think so.                           Because I never saw

      17       that she didn't hug as a cultural thing.                                      It was

      18       just as an individual.                   You know, she wasn't that

      19       kind of person.         Like, Cherri was always, hey, you

      20       know, like that demeanor.                        But not Nadine.

      21                       And so that was -- that was my big memory

      22       of that meeting, that it ended with a hug.                                      So I

      23       went home happy that day.

      24               Q.      Do you know whether this meeting was

      25       recorded by Nadine?

              *Copy*                 Lee v. Market America                                       04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 97 of 110
           Liliana Camara                       1:18-cv-1046                                 Page 97

       1               A.   No.     I don't know.

       2               Q.   Are you aware that several meetings

       3       between Nadine and individuals at Market America

       4       were recorded?

       5               A.   Yes.     I know that now.                            I didn't know that

       6       then.

       7               Q.   Okay, so are you denying that you made any

       8       comments about the cultural differences between you

       9       and Nadine?

      10               A.   I don't recall saying anything like that.

      11               Q.   Okay, so for purposes of this deposition,

      12       I don't recall means I can't remember, it's

      13       possible, it's also not possible.

      14               A.   Okay.

      15               Q.   Is that what you mean, as opposed to a

      16       flat-out denial, where you would say I know I didn't

      17       say that?

      18               A.   Oh, yeah.            No.         So I don't recall.

      19               Q.   Okay.

      20               A.   Because -- yeah, I cannot think of ---

      21               Q.   --- Okay.            All right, now, at some point

      22       -- let's talk about your -- the end of your

      23       employment with Market America.

      24                    Did you voluntarily resign?

      25               A.   Yes.

              *Copy*                 Lee v. Market America                                    04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 98 of 110
           Liliana Camara                       1:18-cv-1046                                  Page 98

       1            Q.      And did you give a letter of resignation?

       2            A.      Yes.

       3            Q.      Do you recall that letter of resignation?

       4            A.      No.

       5                            MS. GRAY:                Okay.             Just bear with me

       6       for a second.

       7                            MS. DEBOARD:                     Are you looking for the

       8       letter?

       9                            MS. GRAY:                Yes.

      10                            MS. DEBOARD:                     It's MA427.

      11                            MS. GRAY:                Okay.             Thank you.

      12                    Do you mind sharing that with her?

      13                            MS. DEBOARD:                     I do not.

      14            Q.      (Ms. Gray)             What we are showing you now

      15       has previously been marked as Market America's Bates

      16       stamp 427.     And if you would just take a minute to

      17       review that document.

      18            A.      Yes.

      19            (Witness examined document)

      20            A.      Okay.

      21            Q.      All right, so this document, which is

      22       marked as MA427, would you agree that this is your

      23       letter of resignation to Market America?

      24            A.      Yes.

      25            Q.      And it's dated March 15th, 2018.                                 Correct?

              *Copy*                 Lee v. Market America                                     04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 99 of 110
           Liliana Camara                     1:18-cv-1046                                     Page 99

       1              A.   Yes.

       2              Q.   And I believe you say that you have

       3       received an offer to remotely join the translation

       4       team at Wells Fargo's headquarters in San Francisco.

       5       I realize that this opportunity is too exciting for

       6       me to decline.

       7                   Do you see that?

       8              A.   Yes.

       9              Q.   Now, I asked you earlier when you came

      10       into this deposition with whom you have been

      11       employed since you left Market America.                                     And I

      12       believe you said Spanish Speaking, LLC, and the yoga

      13       studio?

      14              A.   Yes.

      15              Q.   Why didn't you include Wells Fargo?

      16              A.   Because everything that I do that has to

      17       do with translation feels to me that is my Spanish

      18       Speaking business.           And that was translating from

      19       English to Spanish.

      20              Q.   Okay.     Did you ever work for Wells Fargo?

      21              A.   For an agency that provided the services

      22       to interpret -- translation services to Wells Fargo,

      23       yes.

      24              Q.   It says I received an offer to remotely

      25       join the translation team at Wells Fargo

              *Copy*               Lee v. Market America                                           04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 100 of 110
           Liliana Camara                   1:18-cv-1046                                        Page 100

       1       headquarters in San Francisco.                            Is that true?

       2            A.    So I left out the part that it was an

       3       agency that was doing that.                        I didn't feel like it

       4       was relevant.     Because eventually, my -- the way the

       5       progress went, nobody got hired directly for the

       6       translations department, they went through the

       7       company first and then eventually will join the

       8       translations team.

       9            Q.    Who is the agency you're referring to?

      10            A.    Prolingual, I think it is.                                      I cannot

      11       remember the name.

      12            Q.    Say again?

      13            A.    Prolingual, I think.                           But I'm not sure.

      14            Q.    Prolingual?

      15            A.    Uh-huh.

      16            Q.    Where is that agency located?

      17            A.    California.

      18            Q.    Where in California?

      19            A.    I do not remember.

      20            Q.    So are you saying that you received an

      21       offer from Prolingual to join the translation team

      22       at Wells Fargo's headquarters in San Francisco?

      23            A.    Yes.

      24            Q.    And did you actually take that position?

      25            A.    Yes.

              *Copy*              Lee v. Market America                                              04/27/21
                                  Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 101 of 110
           Liliana Camara                         1:18-cv-1046                                  Page 101

       1               Q.      When did you start?

       2               A.      April -- at some point in April after I

       3       left.        Yes, at some point in April.

       4               Q.      April?

       5               A.      Yes.

       6               Q.      Of 2018?

       7               A.      Yes.

       8               Q.      And what was your job title?

       9               A.      Linguist.

      10               Q.      And what did that require you to do?

      11               A.      Translate the online content of Wells

      12       Fargo from English into Spanish, and review or

      13       proofread translations from other translators.

      14               Q.      And how long did you do that job?

      15               A.      I did that until -- I believe it was the

      16       end of September of 2019.

      17               Q.      September ---

      18               A.      --- It was a few months.

      19               Q.      --- From April 2018 to September of 2019?

      20               A.      No.    September to -- September of the same

      21       year, 2018.

      22               Q.      So you think you did this for

      23       approximately four or five months?

      24               A.      Yes.

      25               Q.      And who did you report to?

              *Copy*                    Lee v. Market America                                     04/27/21
                                        Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 102 of 110
           Liliana Camara                      1:18-cv-1046                                       Page 102

       1               A.      I cannot remember the name of the lady.

       2       So when I was hired, there wasn't a head for that

       3       department.

       4               Q.      There wasn't a what now?

       5               A.      There was not a head, like a director for

       6       that department.          So I join in a team of people that

       7       were already translating and reviewing translations.

       8       And then, towards the last couple of months, one of

       9       the people from that team got promoted to manager.

      10       And then I reported to her.                           And I cannot remember

      11       her name.

      12               Q.      Well, maybe it will refresh your

      13       recollection if you can tell me how you got the job.

      14               A.      So this was a lady that I graduated from

      15       with my master's in Spanish and translation.                                            She

      16       was working there, and they needed someone to help

      17       them.        They have lost a couple of people, they have

      18       lost their manager.               And so they asked around, who

      19       knows someone that you already know can do this job.

      20                       And so she reached out to me, and it was

      21       working four hours, four days a week.                                         And the

      22       salary was slightly higher than what I was making at

      23       Market America, so -- and it was doing translation.

      24       And I have recently graduated from my program, so it

      25       felt to me like the perfect thing to do after

              *Copy*                 Lee v. Market America                                             04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 103 of 110
           Liliana Camara                     1:18-cv-1046                                        Page 103

       1       graduating.

       2            Q.      You mean after you got your master's?

       3            A.      Yes.

       4            Q.      Okay, so it sounds like you got your

       5       master's in -- you're talking about the master's in

       6       translation studies from the University of North

       7       Carolina in Charlotte?

       8            A.      Yes.    Uh-huh.

       9            Q.      And I think you said you got that in 2017?

      10            A.      Yes.    The end of 2017 or -- did I graduate

      11       in May or in -- I graduated in May.                                      So it must have

      12       been May of 2017.           Yes, May of 2017.                                I can go back

      13       and look.

      14            Q.      So you're saying a year later someone

      15       reached out to you from that program?

      16            A.      Oh, no.        It was my -- I mean, like I met

      17       this lady -- so, wait.

      18                    When did I graduate from -- can I look?

      19            Q.      Yeah.

      20            A.      I cannot believe I can't remember when I

      21       graduated.     So in 2017.

      22            Q.      Okay.

      23            A.      Yes.    Now I know the year.

      24            Q.      And so you're saying that the person

      25       reached out to you a year later about a position

              *Copy*                Lee v. Market America                                           04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 104 of 110
           Liliana Camara                    1:18-cv-1046                                   Page 104

       1       with Prolingual?

       2            A.    No.     Probably not a year later.                               Because

       3       if I graduated towards the end of 2017, and then I

       4       got this offer in 2018, March, beginning of March.

       5       So that wouldn't have been a year.

       6                  And I remained in contact with her.                                  This

       7       is someone that I graduated with.                                  So she became my

       8       friend.

       9            Q.    So what was her name?

      10            A.    Alexandra.

      11            Q.    Alexandra?

      12            A.    Uh-huh.         Yes.

      13            Q.    What's her last name?

      14            A.    Guevara.

      15            Q.    Can you spell that?

      16            A.    G-u-e-v-a-r-a.

      17            Q.    And she's local, here?

      18            A.    Charlotte.             She used to be in Charlotte at

      19       that point.

      20            Q.    Okay.      You said the name of this company,

      21       is it called Prolingual Spanish?

      22            A.    Prolingual.               I think it's an agency, and I

      23       cannot remember -- maybe I can find that, too.

      24                  Populus.          Okay.             That was the name.

      25            Q.    Can you spell that?

              *Copy*               Lee v. Market America                                      04/27/21
                                   Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 105 of 110
           Liliana Camara                      1:18-cv-1046                                  Page 105

       1               A.   P-o-p-u-l-u-s Group.                            So Populus Group

       2       managed all of the translation for Wells Fargo.

       3               Q.   Okay, and so does that refresh your

       4       recollection of who you would have been working with

       5       at Populus?

       6               A.   Reporting to?                  No.

       7                    What's her name?                      I cannot remember her

       8       name.

       9               Q.   Okay.      That's fine.

      10                    And is this place headquartered in Troy,

      11       Michigan?     Do you know?

      12               A.   Huh-uh.         I don't know.

      13               Q.   Okay.      All right, so going back to your

      14       letter of resignation, you also indicated that you

      15       would like to help with the transition of your

      16       duties so that the operations could continue to

      17       function smoothly after your departure.

      18               A.   Correct.

      19               Q.   Did you do that?

      20               A.   I think I did, yes.

      21               Q.   Okay, and then, also, going back Nadine's

      22       termination.        At the time that she was terminated,

      23       did she indicate to you that she was willing to work

      24       in any other department at Market America?

      25               A.   Yes.

              *Copy*                 Lee v. Market America                                     04/27/21
                                     Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 106 of 110
           Liliana Camara                     1:18-cv-1046                                        Page 106

       1               Q.   And what department did she indicate she

       2       was willing to work in?

       3               A.   Not to me -- hold on.                             Let me rephrase

       4       that answer.

       5                    What I'm remembering now is someone saying

       6       that Nadine was willing to work in another

       7       department.     But I don't remember who said that, and

       8       I don't remember what the department was.

       9               Q.   Okay, but you can confirm that you at

      10       least heard that she was willing to work in another

      11       department at the time of her termination?

      12               A.   Yes.

      13                           MS. GRAY:                All right.                      I don't think

      14       I have anything further.                     But if you give me a

      15       minute, and we can review, then I'll come back.

      16       Okay.

      17                           THE WITNESS:                     Uh-huh.

      18                           MS. GRAY:                So where can we go?

      19                           MS. DEBOARD:                     So there are -- we can

      20       go off the record.

      21               (12:22-12:37 p.m. - recess)

      22                           MS. GRAY:                Thank you, Ms. Camara.                      I

      23       have no further questions.

      24                           THE WITNESS:                     You're welcome.

      25                           MS. DEBOARD:                     I don't have any

              *Copy*                Lee v. Market America                                           04/27/21
                                    Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 107 of 110
           Liliana Camara                  1:18-cv-1046                                  Page 107

       1       questions.

       2            WHEREUPON,

       3        at 12:37 o'clock p.m. the deposition was adjourned.

       4

       5

       6

       7

       8

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

              *Copy*             Lee v. Market America                                     04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 108 of 110
          Liliana Camara                   1:18-cv-1046                                  Page 108

                             CERTIFICATE OF TRANSCRIPT

                    I, Cassandra J. Stiles, Notary Public in and for

         the County of Forsyth, State of North Carolina at Large, do

         hereby certify that there appeared before me the foregoing

         witness;

                    That the testimony was duly recorded by me,

         reduced to typewriting by me or under my supervision and the

         foregoing consecutively numbered pages are a complete and

         accurate record of the testimony given at said time by said

         witness;

                    That the undersigned is not of kin nor associated

         with any of the parties to said cause of action, nor any

         counsel thereto, and that I am not interested in the

         event(s) thereof.

                    IN WITNESS WHEREOF, I have hereunto set my hand

         this the 10th Day of May, 2021.



                                ________________________________

                                Cassandra J. Stiles, CVR-M
                                Certified Court Reporter
                                Atlantic Professional Reporters
                                Post Office Box 11672
                                Winston-Salem, NC 27116-1672




              *Copy*             Lee v. Market America                                     04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 109 of 110
          Liliana Camara                   1:18-cv-1046                                  Page 109

                                CERTIFICATE OF OATH

                    I, Cassandra J. Stiles, Notary Public in and for

         the County of Forsyth, State of North Carolina at Large, do

         hereby certify that there appeared before me the foregoing

         witness;

                    That the witness personally appeared before me at

         the date, time and location hereon captioned and was

         personally sworn by me prior to the commencement of the

         proceeding in the matter hereon captioned.

                    IN WITNESS WHEREOF, I have hereunto set my hand

         this the 10th Day of May, 2021.


                                ________________________________

                                Cassandra J. Stiles, CVR-M
                                Certified Court Reporter
                                Atlantic Professional Reporters
                                Post Office Box 11672
                                Winston-Salem, NC 27116-1672




              *Copy*             Lee v. Market America                                     04/27/21
                                 Atlantic Professional Reporters, Ltd. - (336)945-9047




Case 1:18-cv-01046-WO-JLW Document 36-3 Filed 06/04/21 Page 110 of 110
